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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                   ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                           Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.




     COALTION PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF
         MOTION FOR PRELIMINARY INJUNCTION



                            August 20, 2018
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        Plaintiffs Coalition for Good Governance, William Digges III, Laura

Digges, Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”) file this

Reply Brief in Support of their Motion for Preliminary Injunction. (Doc. 258).

        INTRODUCTION AND SUMMARY

        Defendants make no effort to defend the security or reliability of DRE

machines or to rebut the unanimous and urgent recommendation of computer

scientists and national security authorities that paperless DRE machines never be

used in American elections again. Defendants also do not dispute that, with more

time and more money, paper ballots are the solution to providing a secure, reliable,

and verifiable voting system for Georgians. Instead, Defendants contend that —

having ignored urgent warnings for years — they now have neither the will, time

nor the money to protect their citizens’ constitutional rights. This response is

insufficient as a matter of law: if a State causes the constitutional violation, it

cannot escape the imposition of an effective remedy simply by saying that doing

the right thing is too hard, whether it is segregated schools,1 overcrowded prisons,2

or unconstitutionally deficient voting systems.3

1
 Swan v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15 (1971) (“Once a right and a violation have
been shown, the scope of a district court’s equitable powers to remedy past wrongs is broad, for breadth
and flexibility are inherent in equitable remedies.”)
2
 Brown v. Plata, 563 U.S. 493 (2011) (affirming reduction of prison population as remedy for
unconstitutional prison conditions).
3
 NAACP v. Cortes, 591 F. Supp. 2d 757, 763, 768 (E.D. Pa. 2008) (granting injunctive relief, rejecting
as factually unfounded defendants’ arguments that changing election rules would “cause chaos and
confusion”).
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          Moreover, Defendants’ protestations and declarations concerning the

difficulty of using paper ballots fundamentally mischaracterizes the reasonable,

prudent, and minimalist relief of polling place paper ballots the Coalition Plaintiffs

seek in this Motion. Without doubt, changing Georgia’s entire election process

would be as challenging as it is unnecessary. The Coalition Plaintiffs are not

seeking anything close to a major change in the election process, but instead a very

specific change in one step of the process that will most likely save the State time

and money — using paper ballots in the polling places instead of DREs to record

voters’ choices. The only change that a voter will notice as a result of this change

is that, rather than touching an electronic screen, the voter will use a felt-tip pen to

record his or her vote on a paper ballot and will place the paper ballot in a secure

ballot box. To suggest that this minor change to the voting experience will cause

mass chaos and voter confusion is utterly ridiculous.

          Granting the requested relief means the Defendants will have to increase the

quantity of paper ballots being printed, but the largest ballot printer in the country

is ready, willing and able to provide as many ballots as Georgia needs for twenty-

six cents a ballot.4 (Martin Decl., attached hereto as Exhibit D, ¶ 39). Evidence

establishes that little if any additional training of poll worker staff is necessary;

poll workers are already trained to securely handle and account for paper ballots

4
    Richmond County is currently paying $.35 per ballot. (Doc. 265-6 ¶ 8).
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for provisional voters. (See R. Wilson Decl. ¶¶ 13-17, at Doc. 258-1, page 298-

299). The labor intensive efforts of setting up, testing, securing, closing down, and

transporting numerous DRE machines in every polling place are not necessary.

(Id.). If additional scanners are desired to be added to the approximately 900 that

are already in use in Georgia now (Doc. 265, page 8), used Accu-Vote scanners are

widely available and can be purchased easily for reasonable amounts.

(McReynolds Decl., attached hereto as Exhibit E, ¶ 48; Martin Decl., attached

hereto as Exhibit D ¶ 44). Although Defendants complain that new equipment that

may be needed has not been budgeted, they do not disclose the recent $10.3

million in federal election security funding that was just granted to Georgia. The

additional cost of the paper ballots and additional scanning machines, if needed,

will be more than offset by the enormous savings associated with not having to

test, program, transport, set up, take down and secure 27,000 DRE machines, and

to handle and account for tens of thousands of DRE memory cards. Any

administrative inconvenience Defendants may face in accommodating the

Coalition Plaintiffs’ requested remedy pales in comparison to the imminent harms

and irreparable injury to voters that will be avoided. See Brown, 563 U.S. at 531

(“a narrow and otherwise proper remedy for a constitutional violation is not invalid

simply because it will have collateral effects”).



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        ARGUMENT

        The Coalition Plaintiffs will first address in Part A the overwhelming

evidence establishing the likelihood of success on the merits and then, mindful of

the Court’s focus on the practicality of injunctive relief, will address in Part B the

proposed remedy in detail. In Part C, the Coalition Plaintiffs will address other

arguments advanced by the Defendants, including the alleged availability of

alternative relief, laches, the availability of mandatory preliminary injunctive

relief, and other issues.

        A.      Coalition Plaintiffs Are Likely to Succeed on the Merits

        Secretary Kemp’s failure to muster any rebuttal to Plaintiffs’ evidence

leaves an evidentiary record that compels a finding that Plaintiffs are likely to

succeed on the merits. Rather than attempt to defend the security of Georgia’s

election system with evidence and reasoned analysis, Secretary Kemp instead

insults the citizens who bring this claim and mocks the professionals who provide

scientific evidentiary support.5 This all-too familiar tactic—insult the critic, ignore

the facts and science—has no place in a court of law and by now serves only to



5
  The State Defendants state that Plaintiffs harbor “[l]uddite prejudices,” an ironic description given the
Defendants’ refusal to address the overwhelming computer science authorities on the subject. The State
Defendants, having no voting systems experts of their own, call Plaintiffs’ Expert Matthew Barnhart a
“so-called expert” and a mere “Ph.D. candidate” (at Michigan); refer to Logan Lamb, who exposed the
insecurity of the KSU server and immediately reported it to KSU, as a “hacker;” and call Rebecca
Wilson, the Republican Chief Election Judge in Prince George County, Maryland, as a “lower-level
functionar[y].” (Doc. 265 at pages 11-12).
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emphasize the Secretary’s inability to dispute the genuine threat that hangs over

Gerogia’s upcoming mid-term elections.

          What follows is a summary of Plaintiffs’ evidence and Defendants’ meager,

if not nonexistent, rebuttal.

                   1.      DRE voting machines are profoundly insecure and vulnerable.

          In their opening Brief, Plaintiffs showed that the entire computer science

community has concluded that DRE voting machines are unreliable,

unquestionably insecure, and unverifiable. (Coalition Plaintiffs’ Brief at 10 (Doc.

258-1, p. 12). The State Defendants denigrate Plaintiffs’ experts, but do not

submit any expert testimony of their own and do not address, much less refute,

Plaintiffs’ expert testimony or the mountains of academic and scholarly literature

supporting their conclusions.

          In their Brief, Plaintiffs explained that federal officials at the highest levels

have unanimously urged that DRE machines be replaced with systems that have

voter-verifiable paper trails.6 House Intelligence Committee Chairman Devin

Nunes called for a complete ban on electronic voting;7 Director of Homeland

Security Kirstjen Nielsen stated that using DRE machines presents a “national




6
 As Director of Homeland Security Kirstjen Nielsen recently testified: “You must have a way to audit
and verify the election result.” (Doc. 258-1, n. 3).
7
    http://thehill.com/hilltv/rising/398949-house-intel-chair-calls-for-ban-on-electronic-voting-systems.
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security concern.”8 Select committees from the House9 and Senate10 issued detailed

reports outlining the dangers of using paperless DREs and urgently recommending

that DRE voting machines be abandoned.

           Defendants do not address or dispute the conclusions reached by these

federal officials, nor do they identify any government official (state or federal),

voting system computer scientist, or cybersecurity expert who is willing to say to

this Court on the record that DRE voting machines can be safely and reliably used

to conduct public elections in Georgia.11

                   2.   Georgia’s DRE Machines are Particularly Vulnerable.

           In their Brief, Plaintiffs explained that the already unacceptable extreme

vulnerability of Georgia’s system was greatly increased by Secretary Kemp’s

failure to secure the State’s central election server before and after the 2016

elections. This neglect that rendered Georgia’s entire voter registration database,

the personal records of every Georgia voter, and the State’s election software and

passcodes “fully accessible to any computer user with Internet access.” (Doc. 258-



8
    Doc. 258-1, n. 3.
9
    Doc. 258-1, n. 7.
10
   Doc. 258-1, n. 5.
11
   Even the Secretary’s Chief Information Officer, Merritt Beaver, does not dispute the insecurity of the
DRE voting machines, testifying instead that replacing DRE voting machines will not make the other
components of the system more secure. (Doc. 265-1, page 5, ¶ 7). Yet, as expert Matthew Bernhard
states: “The chain of security is only as strong as its weakest link, and the chain of election security in
Georgia is all but broken due entirely to the insecurity of Georgia’s DRE voting machines.” (M. Bernhard
Second Decl., filed herewith, ¶ 7).
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1, page 15). Defendants do not disagree with this account, nor do they point to

any evidence of attempted remediation of the extreme risk to which the entire

system has been—and continues to be—exposed. As Matthew Barnhard explains

in his Second Declaration: once a system is hacked, malware “thereafter can

remain silently hidden.” (M. Bernhard Second Decl., attached hereto as Exhibit A,

¶ 10).

         Plaintiffs also explained that, even after the Secretary’s agents were notified

that the central election server was exposed to the public, “for reasons that have

never been explained,” “between at least August 2016 and March 2017” the server

and all of its election data and programming was left exposed to unauthorized

access by anyone, anywhere in the world, with an internet connection. Secretary

Kemp’s own agents at KSU warned that the compromised server was exploitable

because of its “critical and severe vulnerabilities.” (Doc. 258-1, page 236). In

their response brief, Defendants provide no explanation for this egregious neglect,

nor do they express any intention to undertake essential forensic investigations

remediate the risks introduced by their security failures.

         Rather than responsibly addressing the security of Georgia’s systems,

Defendants ridicule the Coalition Plaintiffs for raising the likelihood of

“undetectable manipulation.” Betraying a total lack of knowledge or even interest

in the threats to Georgia’s election system, and stunning arrogance, Defendants

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state: “Evidence of ‘undetectable manipulation’ is oxymoric.” (Doc. 265, page

11). To the contrary: undectectable manipulation, a term of art in the computer

science field, is today exactly what concerns experts the most about Gerogia’s

DRE voting system. This is explained in the Declaration of Dr. Richard DeMillo,

the Charlotte B. and Roger C. Warren Professor of Computing and Professor of

Management at Georgia Tech, attached hereto as Exhibit C. Dr. DeMillo states:

“Undetectable manipulation is the most common, widely recognized, and serious

threat facing computer systems, including election systems. . . . [T]he threat is not

speculative or theoretical but rather is the fundamental building block of modern

cyber security and cyber warfighting.” (DeMillo Decl. ¶ 11).      Dr. DeMillo goes

on to explain in authoritative detail undetectable manipulation and the threat it

poses to Georgia’s election system. Dr. DeMillo concludes:

      As these citations make clear, undetectable manipulation is a grave
      threat to Georgia’s paperless DRE voting system because APTs have
      plainly targeted the American election system, including in all
      likelihood Georgia’s system. It is well within the capabilities and
      consistent with usual practice of those APTs to utilize undetectable
      manipulation. Given the inability of the State to determine with any
      certainty whether the software presently being utilized by Georgia’s
      DRE voting system has been maliciously altered at any point in the
      past, it will be impossible for Georgians to have any reasonable
      degree of confidence in the integrity of the election results produced
      by Georgia’s DRE voting system.




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(DeMillo Decl. ¶ 20uy). Because of the real threat of undetectable manipulation,

“[t]he only known robust mechanism for universally disclaiming election

malfunction is a physical paper record.” (Second M. Bernhard Decl., ¶ 7).

          Defendants, quoting the Secretary’s Chief Information Officer Merritt

Beaver, state that “‘[t]he way that KSU stored and transmitted data is not the way

that those tasks are undertaken now,’” (Doc. 265, page 30). This bland observation

gives no assurance that the system is any more secure now than it was in the

immediate aftermath of its months-long exposure to the world by KSU. Worse,

saying that things have changed this misses the point entirely, for the issue is not

(or not only) whether the system can be infiltrated anew, but is instead whether

anything has ever been done to mitigate the catastrophic security failure that it

known to have been suffered.

          There is no evidence in the record that the Secretary has conducted or indeed

ever intends to conduct a forensic examination to determine whether Georgia’s

election system was altered or manipulated in the (at least) six months it was left

exposed, six months that happens to overlap with the time period in which Russian

operatives are alleged to have been probing for vulnerabilities in, and trying to

manipulate, America’s election systems.12 (Doc. 258-1 at 13). The Secretary’s

failure to secure the server in the first place was negligent, but conducting an

12
     United States v.Netyksho, et al., Indictment (D.D.C., July 13, 2018) ¶ 75
                                                    Page 9
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election using the same software that was stored on that server after that exposure,

without first determining whether the server has been maliciously infiltrated, is

reckless in the extreme.13

                3.      Evidence of Malfunctions in Recent Elections

        Defendants do not even acknowledge, much less attempt to address, any of

the alarming new evidence that Georgia’s DRE voting system has inexplicably

malfunctioned in recent 2016 through 2018 elections, particularly with respect to

discrepancies between the Diebold electronic pollbooks (part of the certified DRE

system) and the Secretary of State’s official voter registration records. (Doc. 258-

1, Clark Decl. ¶¶ 10-15 and Bowers Decl. ¶¶ 35-46). This silence amounts to a

concession that the Secretary has no earthly idea why his election system is not

working the way it is supposed to for so many Georgia voters. Whistling past the

graveyard is not a suitable response in the face of real evidence of ongoing

malfunctions, discrepancies, and irregularities affecting real Georgia voters who

are attempting to exercise their fundamental right to vote.




13
  In their Brief, Plaintiffs further explained that the vulnerability of DREs can be exploited whether or
not the machines are directly connected to the internet in a live connection. (Doc. 258-1, p. 13).
Secretary Kemp has claimed in the press: "State voting systems are diverse, highly scrutinized and not
connected to the Internet. Web-based attacks on voter registration do not affect the vote count. The thing
that matters most — your vote — is secure." B. Kemp, “States Keep Our Election Secure,” USA Today,
July 2, 2017. Plaintiffs are unaware of any factual support for Secretary Kemp’s statement.


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      Indeed, not only is the Secretary mute in the face of the compelling evidence

that the Coalition Plaintiffs have proffered, but the Secretary’s conduct in this

litigation supports an inference that whatever evidence the Secretary might have

once possessed is detrimental to his defense. The Secretary’s agents destroyed

evidence by wiping the primary and secondary KSU servers after this litigation

was filed, in plain violation of duties to preserve potentially relevant evidence. The

Secretary assails any suggestion that his office might have spoliated evidence as

“spurious,” “mudslinging,” and a “gimmick to distract.” But the facts, which none

of the Defendants contests, establish spoliation by the Secretary as a matter of law.

Kraft Reinsurance Ireland, Ltd. v. Pallets Acquisitions, LLC, 845 F. Supp. 2d

1342, 1358 (N.D. Ga. 2011) (“Spoliation is the destruction...of evidence, or the

failure to preserve property for another’s use as evidence in pending or reasonably

foreseeable litigation.”). Defendants inexplicably excuse themselves from having

to present evidence by asserting that “certain parts of Georgia’s elections

infrastructure must remain secret” pursuant to an unidentified “state secrets

doctrine.” This outlandish claim, made without any citation to legal authority, is

the crowning testament to the Secretary’s complete inability to defend the security

of DREs with anything other than invective and evidence-free, ad hominem

argument.



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             4.     Conclusion: Clear Likelihood of Success on the Merits

      The substantially unrebutted evidence presented by Plaintiffs unquestionably

warrants a finding that Plaintiffs are likely to succeed on the merits of their claim

and that using the DRE machines in the upcoming election is not a responsible or

constitutional option. “Once a constitutional violation is found, a federal court is

required to tailor ‘the scope of the remedy’ to fit ‘the nature and extent of the

constitutional violation.’” Hills v. Gautreaux, 425 U.S. 284, 293–94 (1976).

      B.     Injunction Is in the Public Interest

      Before addressing the feasibility of the Coalition Plaintiffs’ proposed

remedy, it is crucial to place the issue in the broader legal context. Defendants

have the obligation to protect Georgia citizens’ constitutional right to vote and

have the further obligation to ensure that the votes are counted and recorded

accurately. Plaintiffs have shown that DRE machines, particularly in Georgia,

cannot be relied upon to protect these vital constitutional rights; their continued

use, therefore, is not a constitutional option, any more than it is an option for the

state to maintain segregated schools because busing is difficult, Swan, supra, or to

maintain inhumane prison conditions because building enough prisons is not in the

budget, Brown, supra.

      As a factual matter, however, replacing DRE machines with paper ballots for

the 2018 election is completely feasible and practical.

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                1.      Proposed Remedy – Paper Ballots

                        a)      Step-by-step description14

        Defendants exaggerate the difficulty of injunctive relief by exaggerating the

scope and nature of the Coalition Plaintiffs’ proposed remedy. To explain the

limited scope of changes that the Coalition Plaintiffs seek for the 2018 election, the

Coalition Plaintiffs have attached two charts as demonstrative Exhibits F and G.

Exhibit F shows the basic components of Georgia election system currently being

used and if the injunction were granted. Exhibit G shows each of the steps of the

voting process, both under the current system for in-person voting, under the

current system for provisional voting15 at a polling place, and under the proposed

polling place paper ballot system that would be used if the preliminary injunction

were granted.

        As Exhibit G shows, because paper ballots are already used in Georgia for

provisional ballots, the proposed paper ballot system does not introduce any new

steps in the voting process:

        *Step One: The Diebold DRE system electronic poll book, which is used to

verify voters’ registration information and to select the correct ballot for each


14
  Defendants feign confusion and uncertainty over the nature of the Coalition Plaintiffs’ proposed
remedy, but every step of the proposed remedy, including the various statutory options for scanning paper
ballots, is described in detail in Coalition Plaintiffs’ counsel’s letter to the State Defendants’ counsel
dated April 16, 2018. (Doc. 258-1, pages 92, 93, and 96-97).
15
  Provisional voting is more complex that the chart shows. No change is sought as to how provisional
ballots are processed.
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voter, would continue to be used, with pre-election corrections of discrepancies

and a paper back up of the pollbook recommended (see Section A(2), below).

      *Step Two: Currently, the voter is given a DRE voter access card or, if he or

she is a provisional voter, a paper ballot. Under the proposed paper ballot system,

all voters will be given a paper ballot, not a DRE voter access card.

      *Step Three: Currently, (a) the voter inserts the DRE voter access card into

the DRE machine and casts his or her votes by using the touchscreen or (b) if the

voter is a provisional voter, he or she will mark the paper ballot and place it in a

secure ballot box (inside a provisional voter envelope). Under the proposed paper

ballot system, all voters will mark the paper ballot and place it in a secure ballot

box. (Only provisional voters would use envelopes and provisional ballot

paperwork.)

      Step Four through Six: Currently, (a) votes from DRE machines are

transmitted by memory cards to the GEMS server which tabulates voting results

and (b) provisional voters’ votes (once verified) are transmitted to the GEMS

server via an Accuvote Optical Scanner memory card. Under the proposed paper

ballot system, all ballots are transmitted to to the GEMS server via an Accuvote

Optical Scanner memory card.




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                        b)      Paper ballots are already authorized by statute

        Paper ballots have been an authorized form of voting under Georgia law

continuously for over 240 years. (Article IX Georgia Constitution of 1777).

Paperless mechanical lever voting machines were first permitted in approximately

1930 and optical scanners were authorized for the counting of paper ballots by

1981. (See O.C.G.A. §§ 21-2-280). DRE machines were first permitted in 2002.

Ga. L. 2002, p. 598; Ga. L. 2003, p. 517. None of these laws authorizing

mechanical or electronic voting systems, however, required their use or supplanted

the authority to use hand-counted or electronically counted paper ballots.16

        O.C.G.A. § 21-2-379.3 permitted Georgia’s first use of DRE voting systems

in 2002 and required that the Secretary of State provide DRE equipment to all

counties, after funds were appropriated by the General Assembly. The law,

however, does not mandate their use. In fact, the State provided both DREs and

optical scanning equipment for paper ballots. Further, counties retain the statutory

authority to use optical scanning equipment to scan and count paper ballots, and

absentee mail-in and provisional ballots.

        In addition, under O.C.G.A. § 21-2-379.2, the Secretary has the authority to

revoke his approval of a DRE voting system if he re-examines the system and



16
  Indeed, numerous Georgia statutes authorize, require or contemplate the use of paper ballots today.
See, e.g., O.C.G.A. § 21-2-280; § 21-2-281;§ 21-2-366; and § 21-2-4-483.
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determines that it “can no longer be safely or accurately used by electors at

primaries or elections . . . because of any problem concerning its ability to

accurately record or tabulate votes.” The evidence in this case compels such a

finding and a wholesale revocation of Georgia’s DREs. However, given the

underlying statutory authority to use paper ballots (either hand-counted or counted

by optical scan equipment), and the absence of any state law requiring use of

DREs, the replacement of the DREs in lieu of paper ballots does not require the

Secretary to invoke O.C.G.A. § 21-2-379.2.

      The Coalition Plaintiffs do not agree that a change to all-absentee mail-in

balloting is an appropriate solution to insecurity of DREs. The State Defendants

raise a number of objections to an all-mail-ballot solution. In response, the

Coalition Plaintiffs note simply that none of those objections apply to a simple

substitution of paper-ballot voting, with optical scan counting, in place of DRE

voting. As discussed above, Georgia law already allows and provides for paper

ballot voting and optical-scan counting. Moving the State to all-absentee mail

balloting, by contrast, would require adoption of an entirely new statutory and

regulatory regime. Moreover, there is ample evidence that absentee ballots entail

their own injury to voters, not least among which is the risk of the voter’s complete

disenfranchisement in the event of a signature mismatch (a judgment call by

officials) or an erroneously filled out mail-in envelope( an innocent mistake by the

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voter). Paper ballots suffer from none of the collateral problems and thus are the

clearly preferable solution and the only one authorized by state law, among the

options presently before this Court.

                    c)     Availability of additional paper ballots


      Paper ballots and printing capacity are available at prices less than quoted by

Defendants. (Martin Declaration, attached hereto as Exhibit D, ¶34-39, 46.)

                    d)     Optical scanners

      A repeated theme in the declarations submitted by the Defendants is that the

paper ballots will be too difficult to scan: the optical scanners are too slow, will

overheat, or are unavailable. To the contrary: Defendants have three different

feasible, time tested options authorized by statute for counting paper ballots: (1)

scanning the paper ballots in each polling place, which is the most commonly used

ballot scanning configurated nationwide; (2) scanning the paper ballots in a central

location in each county, which is done in every county for mail and provisional

ballots; or (3) hand counting the paper ballots, which is done today in several small

Georgia municipalities.

      For most counties, scanning the paper ballots in a central location – the

second option - will be the easiest, and deploying this remedy eliminates the vast

majority of objections and concerns raised in the declarations filed by Defendants.

However, Coalition Plaintiffs, consistent with their April 16, 2018 letter to

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Defendants’ counsel (Doc. 258-1, pages 92, 93, and 96-97), recognize that current

statutes permit each county to make its choice locally among these three options,

dependant on its needs and resources, and do not request that any one of the three

authorized methods be selected as a uniform election method.

        The State Defendants argue that optical scanners can play no part in any

remedy fashioned by this Court because scanners, like DREs, are computers that

can likewise be infected with malware. (Doc. 265, at 15–16, n.5.) This is a

disingenuous objection because it ignores the solution already offered by the

Coalition Plaintiffs—pre-certification audits of the election results, (Doc. 258-2,

at 2, ¶ 4.) with federal funding available for implementation. 17

        All computerized systems are vulnerable to hacking and errors, but only the

use of paperless DREs makes election results unverifiable and errors encountered

irreversible. Paperless DREs record votes without creating any artifact of the

voters’ selections that can be used to verify the results reported by the DRE.

Scanners do not suffer from this problem because they count votes that voters

record on paper, and thereafter the voter-marked paper ballots remain available to



17
   Since March 18, 2018, the U.S. Election Assistance Commission has made $380 million of federal
grant funds available to Georgia and other States to pay to, among other things, “[i]mplement a post-
election audit system that provides a high level of confidence in the accuracy of the final vote tally.” See
EAC, 2018 HAVA Election Security Funds, https://www.eac.gov/2018-hava-election-security-
funds/#how-can-states-use-the-funds (last visited Aug. 19, 2018). Georgia’s share of these federal grant
funds is $10,305,783. See EAC, 2018 HAVA Election Security Grants,
https://www.eac.gov/assets/1/6/2018_HAVA_Election_Security_Funds.pdf (last visited Aug. 19, 2018).
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be audited to verify the totals reported by the scanners. Performing audits of the

scanner totals—prior to certification of election results—is exactly what Coalition

Plaintiffs have proposed both to this Court and to the Defendants directly. (Doc.

258-2, at 2, ¶ 4 (proposed injunction); Doc. 226, at 72, ¶ C (Third Amended

Compl. prayer); Doc. 258-1, at 95–98 & at 97 (Apr. 16, 2018, letter to Defendants’

counsel) (“It is also imperative that robust post-election audits of the unofficial

results be completed before the election results are certified.”).)

      Defendants suggest that because of the asserted insecurity of scanners, a

timeconsuming statewide hand count of paper ballots is the only solution that can

avoid the flaws of the DRE system. This is not true. Scanners are not necessary to

the requested relief, but they do allow for faster, practical, and more accurate

counting of paper ballots in a fashion currently authorized by Georgia statute. The

use of paper ballots, optical scanners, and pre-certification audits together permits

any manipulation of the election results to be detected and addressed, while also

ensuring that election results can still be generated and reported as quickly as the

public expects.

      As noted above, counties may continue to do what they do now with

provisional paper ballots: transport them in secure ballot boxes to the election

office for central scanning and tabulation, along with the mail ballots. Election



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office central count staff know how to use these scanners, and will be using them

whether or not this relief is granted.

             2.    Proposed Remedy – Verification of Accuracy of Electronic
             Pollbooks

      The Coalition Plaintffs are also seeking injunctive relief relating to the

electronic pollbooks. This aspect of the Plaintiffs’ Motion has become

increasingly important since the filing of the Motion because of the number of

reported discrepancies in recent elections – discrepancies not addressed by

Defendants in their Response. In addition, the State Defendants, in their

Response, confirm (by their silence) that they have done nothing since the KSU-

hosted statewide election system was exposed in 2016 to 2017 to verify the

security of this essential database.

      Therefore, as stated in the Motion for Preliminary Injuntion, the Coalition

Plaintiffs are seeking an order directing the Secretary of State, “before October 1,

2018, to conduct an audit of and correct any identified errors in the DRE system’s

electronic pollbook data that will be used in both such elections.” (Doc. 258, page

2). The audit function, which may require external consulting resources given the

urgency, should focus on assuring that all changes made to voter records in the last

three years were authorized and properly recorded. The audit should assure that

electronic pollbook voter data is consistent with the official voter registration data.


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The purpose of this audit is to avoid voter disenfranchisement, confusion and

incorrect ballot issuance in the upcoming election.

      At a minimum, after discrepancies are corrected, current paper backup

copies of the pollbooks must be printed after early voting and maintained at the

polling places.

             3.     Significant cost savings and federal funding

      Plaintiffs presented evidence with the opening Brief explaining how difficult

and time consuming it is to conduct elections using DRE machines, which are

difficulties and costs that will be avoided if injunctive relief is granted. In their

Response, Defendants complain about the added cost of the proposed remedy, but

do not subtract the enormous savings that will result from not having to program,

test, transport and secure each of the Secretary’s 27,000 DRE machines and

associated memory cards before and after the elections. In addition,

      C.     Defendants’ Other Arguments are Without Merit

      Defendants make a number of other miscellaneous defensive arguments,

none with any merit:

             1.   Absentee Voting is Not a Constitutionally Adequate Alternative
             Remedy

      The State Defendants and Fulton County argue that there is no legal

authority holding that the right to vote is burdened by the voter being forced to

choose between voting in person on a DRE and voting an absentee mail-in paper
                                         Page 21
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ballot. (Doc. 265, at 32–33 & n.14; Doc. 267, at 4–5.) This argument is wrong for

three reasons.

          First, the citizen’s right to vote and have their vote counted necessarily

includes the right to have all votes counted correctly. United States v. Saylor, 322

U.S. 385, 386 (1944). Thus, if DRE machines are used at all in the election, a

citizen’s right to have their voted counted correctly is still infringed even if he or

she uses absentee ballots.

          Second, mail-in absentee ballot entails costs, risks of disenfranchisement,

and inconveniences exactly like other burdens that the Eleventh Circuit has held to

infringe upon the right to vote. For example, mail-in absentee voters are subjected

to signature verification that has no cure process, see O.C.G.A. § 21-2-386(a)(1),

which exposes voters to a risk of being erroneously disenfranchised. This mail

ballot disenfranchisement is currently occurring in Georgia at alarming levels.18

Voters suffer cognizable injuries by being exposed to the risk of erroneous

disenfranchisement, Arcia v. Florida Secretary of State, 772 F.3d 1335, 1342 (11th

Cir. 2014), having to pay postage or being “required to make a special trip to the

county registrar’s office,” Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351

(11th Cir. 2009), or being unable to vote in person in the voter’s home precinct.

Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1352 (11th Cir.

18
     Second D. Bowers Decl., attached hereto as Exhibit B, ¶¶ 9-10.
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2005). Voting by mail-in absentee ballot plainly burdens the right to vote that in

ways that are additional to the burdens of voting in person at the polls.

        Third, the unconstitutional conditions doctrine prohibits the State from

“condition[ing] receipt of a benefit or privilege on the relinquishment of a

constitutional right.” Bourgeois v. Peters, 387 F.3d 1303, 1324 (11th Cir. 2004).19

The Eleventh Circuit “has roundly condemned the use of unconstitutional

conditions” and held in Bourgeois that “an especially malignant unconstitutional

condition” is presented where “citizens are being required to surrender a

constitutional right … not merely to receive a discretionary benefit but to exercise

[] other fundamental rights.” Id.

        The Defendants argue that Georgia voters are not constitutionally burdened

by the requirement to use DREs for in-person voting because voters may still vote

by “voluntarily” abandoning their ability to cast a ballot in person at their precinct

on Election Day and suffering the burdens of mail-in absentee voting. Exactly this

kind of choice was rejected in Bourgeois in the context of the First Amendment.

See 387 F.3d at 1324–25 (“The ability of protestors to avoid the searches by

declining to participate in the protest does not alleviate the constitutional infirmity

of the City's search policy[.] … [T]he existence of other vehicles through which


19
   The Third Amended Complaint pleads violation of the unconstitutional conditions doctrine as grounds
for relief with respect to both Counts. (Doc. 266, at 5, ¶ 2; at 62–63, ¶ 158; at 65, ¶ 162 (last bullet); at 67,
¶ 173 (Count I); at 70, ¶ 181 (Count II).)
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protestors could voice their disagreement … does not in any way alleviate the

unconstitutional conditions problem.”) 20 Here, as in Bourgeois, the State may not

excuse its unconstitutional burdening of in-person voting (through the DRE

requirement) by suggesting that voters can simply avoid that unconstitutional

burden by choosing to use a different, more onerous voting method instead. Such a

“choice” is not a defense to constitutional violations, but is rather a constitutional

violation by itself.

                2.      Effective relief may be granted against these Defendants.

        The State Defendants challenge redressability on grounds that any injunction

prohibiting the use of DREs to conduct in-person voting will not operate directly

against the 158 counties of Georgia that are not parties to this case, and because the

State Defendants lack authority to enforce counties’ compliance with such a

prohibition. (Doc. 265, at 15, n.4.) This objection is untenable for several reasons.

        First, the State Defendants’ objection that they lack authority to enforce

counties’ compliance with this Court’s injunction against requiring in-person



20
  Defendants rely upon Favorito v. Handel, 295 Ga. 795 (2009). The Georgia Supreme Court’s holding
in Favorito was explicitly based on the factual finding that DRE machines were as secure and reliable as
paper ballots, a finding that is inconsistent with all of the evidence in this case. Based on this now-
obsolete factual finding, the Georgia Supreme Court held that requiring voters to use DRE machines or
absentee ballots did not violate voters’ right to vote. The Georgia Supreme Court had no occasion to
consider the facts of this case, in which voters are being forced to choose between DRE machines which
are not secure or absentee ballots. Under Eleventh Circuit precedent, a state may not constitutionally
force that kind of choice.


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voters to use DREs can be addressed conclusively by simply including in the

injunction a requirement that the Secretary revoke his approval of the DRE

component of Georgia’s voting system. Immediate revocation of this approval is

mandated by O.C.G.A. § 21-2-379.2(c) in the event of a finding—which may be

made by this Court with binding effect upon the Secretary—that the DRE system

“can no longer be safely or accurately used by electors.” Once the Secretary has

revoked his approval of the DRE system, DREs may not lawfully be used in any

Georgia elections. See O.C.G.A. § 21-2-379.2(c).

      Second, the State Defendants persist in arguing that O.C.G.A. § 21-2-383(b)

somehow independently requires the use of DREs. The plain language of the

statute itself refutes this misrepresentation. The statute only applies to absentee in-

person voters, and it only requires these voters to use DREs if DREs “are used at

the polling places on election day.” O.C.G.A. § 21-2-383(b). Apart from SEB

Rule 183–1–12–.01, (which conflicts with controlling statutes), nothing in Georgia

law requires that DREs must be used in polling places on Election Day, and

O.C.G.A §21-2-366 specifically authorizes the use of optical scanners. Therefore,

if the Defendants are enjoined from enforcing the SEB Rule, there is no other

requirement in Georgia law that mandates the use of DREs by any voters at all. Of

course, “‘state policy must give way when it operates to hinder vindication of



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federal constitutional guarantees.’” Missouri v. Jenkins, 495 U.S. 33, 50 (1990)

(citations omitted).

        Third, Article III standing requires that there be a “substantial likelihood that

the judicial relief requested will prevent or redress the injury.” Duke Power

Co. v. Carolina Environmental Study Group, Inc., 438 U.S. 59, 74–75 & n.20

(1978). The Coalition Plaintiffs will clearly obtain some individual relief as a

result of an injunction entered against the Secretary and Fulton County, regardless

of whether other counties in Georgia are likewise enjoined. Such “partial relief is

sufficient for standing purposes[.]” Made in the USA Found. v. United States, 242

F.3d 1300, 1310 (11th Cir. 2001) (quoting Swan v. Clinton, 100 F.3d 973, 981

(D.C. Cir. 1996)).

        Finally, the Defendants are mistaken to assume that injunctive relief against

the Secretary and State Board Members will not accrue to the benefit of all

Georgia’s voters. Once this Court has ruled it unconstitutional for Fulton County

to require in-person voters to use DREs under SEB Rule 183–1–12–.01, it is

substantially likely that other county officials across Georgia, facing these identical

facts, will voluntarily conform their conduct to the terms of the injunction.21 The

common-law judicial presumption is that government—including county


21
   Counties that have already been exploring ways to switch to paper ballots, only to be dissuaded by the
Secretary (see Doc. 258-1, page 102) are especially likely to conform their conduct to the requirements of
the injunction.
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governments—will act lawfully. See FCC v. Schreiber, 381 U.S. 279, 296 (1965).

Cf. Int’l Union v. Brock, 477 U.S. 274, 291–93 (1986) (rejecting similar

redressability argument based on non-joinder “of every state agency whose

cooperation was needed to effect the relief granted”).

                  3.      The laches defense does not apply

          Defendants’ argument22 that Plaintiffs’ motion is barred by the doctrine of

laches is without merit for a number of reasons. “This defense ‘requires proof of

(1) lack of diligence by the party against whom the defense is asserted, and (2)

prejudice to the party asserting the defense.’ ” Nat’l R.R. Passenger Corp. v.

Morgan, 536 U.S. 101, 121-22 (2002) (Thomas, J.) (citations omitted). Plaintiffs

have been diligently seeking this exact remedy since they filed suit in 2017. It is

true that the Court set an initial deadline of September 1, 2017, to seek a

preliminary injunction, but that was to enjoin the use of DRE machines in the

November 2017 election. More recently, counsel for Coalition Plaintiffs stated in

open court on May 1, 2018, that Plaintiffs were looking for preliminary injunctive

relief for the November 6, 2018 election, and anticipated filing a motion in mid-

July. Plaintiffs’ motion was filed on August 3, 2018, and the Court’s modestly

accelerated briefing schedule has kept the matter on its anticipated track. (See May

1, 2018 Tr. at 25-26).

22
     (Doc. 267, pages 6 – 8; Doc. 265, pages 14-17).
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      Plaintiffs did not bring this motion earlier because Defendants’ filing of a

frivolous sovereign immunity defense blocked discovery. By July, however, the

warnings from the federal government and cybersecurity experts had reached such

a serious level, and escalating numbers of DRE system malfunctions, were being

communicated to Coalition Plaintiffs, that Coalition Plaintiffs realized (a)

Coalition Plaintiffs did not need discovery to prove their claims and (b) seeking

immediate relief to address escalating malfunctions and this “national security

concern” had become imperative.

      Moreover, though Defendants complain about the burden of the injunctive

relief generally (addressed above), Defendants do not identify any prejudice caused

by the timing of the filing of the motion. Morgan, supra. Specifically, Defendants

do not identify any material action that would have to be undone if the motion is

granted – the deployment of the DRE machines has not begun. In addition,

Defendants do not identify any actions that need to be taken now that would not

have been necessary had the motion been filed earlier. More paper ballots and

scanners (if actually needed) may be ordered in the ordinary course of preparing

for the election.

      The cases that Defendants cite in support of their laches argument are easily

distinguishable on their facts, e.g. Miller v. Bd. Of Com’rs of Miller County, 45 F.

Supp. 2d 1369, 1373 (M.D.Ga. 1998) (several year delay and an extraordinary

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remedy proposed two weeks prior to election); or support the rejection of the

defense. United States v. Barfield, 396 F. 3d 1144, 1150 (11th Cir. 2005) (death

penalty case, rejecting laches defense because defendant “ha[d] not demonstrated

she suffered undue prejudice from the delay”).

              4.    Old cases about DRE machines are not relevant.

      Defendants cite several cases from other jurisdictions turning away

challenges to DRE machines. E.g. Weber v. Shelley, 347 F.3d 1101 (9th Cir. 2003);

Schade v. Maryland State Bd. of Elections, 401 Md. 1 (2007); Andrade v. NAACP,

345 S.W.3d 1 (Tex. 2011). Each of these, however, was decided without the full

benefit of the conclusions of the entire computer science and national security

communities to the effect that the machines are unreliable and must be replaced,

and did not involve the unique circumstances presented by the exposure of the

entire state system to potential access by malicious users under Secretary Kemp’s

watch.

              5.    Mandatory preliminary injunctive relief is appropriate.

      Citing Georgia appellate caselaw which does not govern this federal

question case in federal court, the Fulton County defendants argue that preliminary

injunctive relief is limited to maintaining the status quo. (Doc. 267, page 5). This

is not the law. In Canal Authority v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974),

the Former Fifth Circuit recognized that it is “often loosely stated that the purpose

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of a preliminary injunction is to preserve the status quo.” The court continued: “It

must not be thought, however, that there is any particular magic in the phrase

‘status quo.”

      If the currently existing status quo itself is causing one of the parties
      irreparable injury, it is necessary to alter the situation so as to prevent
      the injury . . . by the issuance of a mandatory injunction, see 7
      Moore's Federal Practice P65.04(1), or by allowing the parties to take
      proposed action that the court finds will minimize the irreparable
      injury. The focus always must be on prevention of injury by a proper
      order, not merely on preservation of the status quo.

Id. Here, an order enjoining the use of DRE voting machines in the upcoming

elections is necessary to prevent irreparable injury and is therefore the appropriate

remedy.

      Conclusion

      In sum, the Coalition Plaintiffs have met their burden for the granting of

preliminary injunctive relief under Winter v. NRDC, 555 U.S. 7, 20 (2008), and

their Motion for Preliminary Injunction should be granted.

      This 20th day of August, 2018.

 /s/ Bruce P. Brown                   /s/ Robert A. McGuire, III
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/s/ William Brent Ney
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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.


                      CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font

type of Times New Roman and a point size of 14.

                                    /s/ Bruce P. Brown
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                         CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the foregoing COALITION

PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY

INJUNCTION to be served upon all other parties in this action by via electronic

delivery using the PACER-ECF system.

       This 20TH day of August, 2018.

                                        /s/ Bruce P. Brown
                                        Bruce P. Brown
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,
        v.                                      Civil Action No. 1:17-CV-2989-AT
 BRIAN KEMP, ET AL.,
 Defendants.



           SECOND DECLARATION OF MATTHEW D. BERNHARD

MATTHEW D. BERNHARD​ (“Declarant”) hereby declares as follows:

      1.     I incorporate all the statements made in my previous declaration given

in this case on August 3, 2018, including exhibits thereto. (Doc. 258-1, at 33–42,

43–60.)

      2.     Georgia’s DRE voting machines are not sufficiently secure to have

confidence that any election held in the state of Georgia adequately expresses the

will of the people. As the voting machines produce no audit trail, and indeed the

state performs no independent auditing at all, there is no way to verify that the

result produced at the end of election night is correct. Furthermore, there can be no

confidence that elections held prior to now have been correct or secure either, as




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again any attempt to verify election returns is both impossible and prohibited by

the Secretary of State.

      3.     As stated by the Secretary of State’s CIO, (Beaver Decl., Doc. 265-1),

the security of elections depends on much more than the voting mechanism.

However, security cannot exist unless each component, including the voting

mechanism, is independently secure. The chain of security is only as strong as its

weakest link, and the chain of election security in Georgia is all but broken due

entirely to the insecurity of Georgia’s DRE voting machines.

      4.     The chain of custody of Georgia’s voting machines is not properly

maintained. Machines are left unattended in various public locations for days

around election day. (Doc. 258-1, at 39–41, ¶¶ 34–40.) The security devices used

to physically secure the machines are inadequate to ensure that no tampering has

taken place. Last week at the DEF CON hacker conference in Las Vegas, I

witnessed someone completely defeat a tamper-evident tie of the type used by

Fulton County to secure DRE units in the field with nothing but a soda can. The

“hacker” with only one day of experience in hacking tamper-evident seals was able

to defeat the seal in less than 4 seconds. I also learned how to do this myself. By

inserting a cut piece of aluminum into the ratchet mechanism of the ties, an

attacker can undo the tie without breaking it, and then refasten the tie. Without near



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microscopic examination, there is no evidence that the fastener has been tampered

with. It takes mere minutes to learn how to do this. These are the fasteners that the

state of Georgia relies upon to ensure attackers do not tamper with voting machines

while left unattended, generally for days in the polling places. Thus, Georgia’s

DRE voting machines cannot be assumed to be tamper-free.

      5.     Because the software and hardware interfaces of DRE voting

machines are so insecure, (Bernhard Decl., Doc. 258-1, at 34–39), physical

security is the only mechanism by which the State of Georgia can hope to protect

its DRE machines. Since the state cannot even physically secure its 27,000 voting

machines and 30,000+ memory cards, it cannot guarantee that the machines

tabulate votes accurately.

      6.     However, DREs are not the only inadequately secured part of

Georgia’s voting system, contrary to claims in (Beaver). Voter registration in

Georgia can be changed online, with the service requiring name, date of birth, and

county of residence. All of this information for nearly every voter in Georgia has

already been leaked by the Center for Election Systems, as a server with this

information was left wholly exposed on the Internet for months and possibly years.

(Lamb Decl., Doc. 258-1, at 132, ¶ 20.)




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        7.    I understand from news reports that electronic poll books have also

been stolen and not recovered, and I am aware that the ExpressPoll units used in

Georgia make no effort to encrypt the data that is stored on them, so an attacker
                                                                                  1
could easily glean voter information and change registration this way as well.

        8.    The Secretary of State’s CIO, Merritt Beaver, claims that the air

gapped ballot building system is robust from external threats. (Beaver Decl., Doc.

265-1, at 3, ¶ 3.) An “air gap” typically means that the system in question is not

connected to the Internet. However, as data changes from election to election, there

must be a mechanism to update the ballot building system, likely a thumb drive or

CD that was plugged into some other system that was connected to the Internet. If

an attacker gets malware onto these components, they can get malware into the air

gapped ballot building system, as was famously done in the case of the well-known

Stuxnet exploit that used malware to damage the Iranian nuclear program and more

recently exhibited in the “Industroyer” or “CrashOverRide” malware that has come

to light that targets power grids. See The Hacker News, ​Dangerous Malware

Discovered That Can Take Down Electric Powert Grids​,




1   Jack Crosbie, ​How a 16-Year-Old Hacked a Voting Machine This Weekend​,
     https://www.inverse.com/article/34861-tj-horner-voting-machine-hack-defcon
     (July 31, 2017) (last visited Aug. 20 2018).


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https://thehackernews.com/2017/06/electric-power-grid-malware.html (June 12,

2017) (last visited Aug. 19, 2018).

      9.     Furthermore, even if the media used to transfer information is never

plugged into a system that is exposed to the Internet by election officials, it could

very well be the case that the manufacturer of the transfer media (e.g., USB sticks)

could have placed malware on it before the state of Georgia came to possess it. The
                                                       2
Chinese government is especially adept at doing this.

      10.    As the Coalition Plaintiffs have pointed out, some of these attack

vectors may indeed be “spectral fears,” but the point is not to claim that Georgia’s

system has been hacked because of how many different entry points it has to

hackers. Rather, the point is to highlight that no one can say with confidence that

the system has ​never​ been hacked. And once it has been hacked, it is exceedingly

difficult, if not impossible, to identify and eradicate whatever malware may have

been installed and which thereafter can remain silently hidden. There is no

external mechanism for verifying that votes in Georgia are tallied correctly. The

Secretary of State’s CIO, Merritt Beaver, cites many security techniques employed

by the Secretary to defend Georgia’s elections, all of which are commendable.


2Vojtech Bocek & Nikolaos Chrysaidos, ​Android devices ship with pre-installed
makware​, https://blog.avast.com/android-devices-ship-with-pre-installed-malware
(May 24, 2018) (last visited Aug. 20, 2018).

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However, these measures alone cannot guarantee that Georgia’s elections are safe.

When defending against hacking, you have to get it right every single time. When

attacking, you only have to get it right once. Georgia has not and does not get it

right every single time, and the State Defendants have offered no evidence to show

that their negligence has not resulted in ongoing harm to Georgia voters. Even if

the state wished to do so, Georgia’s voting system provides no substantial evidence

to support such a claim.

        11.     The only known robust mechanism for universally disclaiming

election malfunction is a physical paper record.3 With paper ballots and a low-cost

risk-limiting audit, we can gain confidence that none of the shortcomings of

Georgia’s election systems will impact the election results. Optical scanners by

themselves, as pointed out by the Coalition Plaintiffs, are just as vulnerable as

DREs. However, with a durable paper record of voter intent we can check

afterward and know for sure whether the system has been hacked or has otherwise

malfunctioned.

        12.     This argument similarly applies to voter rolls. Georgia is not a

same-day-registration State, so there really is no need for voter registration data to

be administered via computer in the polling place. A printed paper roster of voters


3
 See Bernhard et al., “Public Evidence from Secret Ballots”
https://mbernhard.com/papers/voting-sok17.pdf


                                                   6
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would be fine, and would also circumvent the need for vulnerable voter access

cards and epollbooks.

Pursuant to 28 U.S.C. § 1746, I declare and verify under penalty of perjury that the

foregoing is true and correct.

Executed on this date, August ________,
                                 20     2018.

                                             _____________________________

                                             MATTHEW D. BERNHARD




                                         7
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             ) CIVIL ACTION FILE NO.:
vs.                                          ) 1:17-cv-2989-AT
                                             )
BRIAN P. KEMP, et al.                        )
                                             )
Defendant.                                   )
                                             )
                                             )

              SECOND DECLARATION OF DANA BOWERS


      DANA BOWERS hereby declares as follows:

      1. I submitted a declaration in this lawsuit on August 3, 2018. This

         declaration supplements that information.

      2. As stated in the previous declaration, I was required to vote a provisional

         ballot on July 24, 2018 at Gwinnett County Precinct 100 which is the

         precinct assigned to me on My Voter Page on the Secretary of State’s

         website, although my home precinct is precinct 96.

      3. I was assured by pollworkers at Precinct 100 that my ballot would count.

      4. I received the letter dated July 31, 2018 from Gwinnett County attached

         in Exhibit 1. To my surprise, the letter states that my ballot was only

         partially counted because I voted in the incorrect precinct, although I
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   voted in the precinct assigned on Election Day on the Secretary of State

   official website, which I checked multiple times that day, and captured

   screenshots of the assignement to Precinct 100.

5. My experience of inaccurate polling place assignment and Diebold

   ExpressPoll electronic pollbook discrepancies is just one of many similar

   voting problems encountered by personal acquaintances in recent

   elections. I am increasingly concerned about whether the upcoming

   election can be fairly conducted with pervasive problems in the Diebold

   pollbook data and the Secretary’s voter registration data.

6. As a member of the Josh McCall campaign, I am concerned about our

   voters being disenfranchised by the discrepancies in the voter records and

   pollbooks, including disenfranchisement such as I experienced in my

   vote not fully counting.

7. I stated in my August 3, 2018 declaration that I planned to vote by mail

   ballot and also undertake a campaign to promote mail in absentee ballots

   in order to increase the number of verifiable ballots in the election.

   However, upon studying the discouraging absentee mail ballot record

   status in my home county of Gwinnett, based on Secretary of State

   official records, I am reconsidering voting by mail or recommending

   voting by mail.
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8. I have reviewed the absentee ballot status files for November 2016 and

   May 22, 2018 elections for Gwinnett County found on the Secretary of

   State’s website at

   http://elections.sos.ga.gov/Elections/voterabsenteefile.do. I observed that

   hundreds of ballot applications and voted ballots have been routinely

   rejected for discrepant signatures or small clerical errors in completing

   the return ballot envelope. I particularly noticed a large number of elderly

   voters’ signatures marked as not matching their voter registration files,

   and therefore rejected causing their ballot to be rejected.

9. I have learned that Georgia does not have a system to permit eligible mail

   ballot voters to cure signature discrepancies or other clerical mistakes

   such as including a birthdate on the return ballot envelope. A frequently

   reported error on the Secretary of State’s worksheets is that voters write

   in the current date rather than their date of birth, and their ballot is

   rejected for that reason alone.

10. Voters are unaware that their ballot is being rejected until it is too late.

   Based on the very high numbers of rejections I reviewed, the risk of

   rejection and disenfranchisement is a meaningful risk and not one I want

   to encourage other voters to take.
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11. I have not decided whether to attempt to vote by mail ballot and which

   balloting method carries the higher risk of disenfranchisement.

I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that

the foregoing is true and correct.



Executed on this date, August 20, 2018.

                                 _______________________________

                                 Dana Bowers
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               EXHIBIT 1
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                IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF GEORGIA

                             ATLANTA DIVISION




  DONNA CURLING, ET AL.,
  Plaintiffs,

  v.
                                                Civil Action No. 1:17-CV-2989-AT
  BRIAN KEMP, ET AL.,
  Defendants.



                DECLARATION OF RICHARD A. DeMILLO

       RICHARD A. DeMILLO (“Declarant”) hereby declares as follows:

       1.   I am a registered voter in Fulton County Georgia. I am deeply

interested in the proper functioning of the Georgia’s voting system, from both a

personal and professional perspective.

       2.   I am currently the Charlotte B. and Roger C. Warren Chair of

Computer Science at Georgia Tech. I have served as Dean of the College of

Computing at Georgia Tech and Director of the Georgia Tech Center for

Information Security. I have also served as the Chief Technology Officer for

Hewlett-Packard, Vice President and General Manager of Computing and

Information Research at Bell Communications Research, Director of the Computer
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and Communications Research Division at the National Science Foundation, and

Director of the Software Test and Evaluation Project for the U.S. Department of

Defense. In all these appointments, my primary technology focus has been

information, communication, and cyber security and computer system testing. I

have taught both graduate and undergraduate courses in cyber security, supervised

graduate students, and conducted peer-reviewed research leading to journal

articles, patents, and invited addresses, all related to the topic of cyber threats to

computer systems.

      3.     A copy of my cv is attached as Exhibit 1.

      4.     I am familiar with Georgia’s Diebold DRE voting system, its design,

the body of academic literature compiled on the system in the last ten years, and its

operation as it is deployed in the polling places in Georgia.

      5.     I own Diebold TSx and TS voting machines purchased over e-Bay

which I have examined and used to conduct certain experiments related to the DRE

system security. Over the past year, I have conferred with many colleagues in the

field of cyber security, including Matthew Bernhard and Logan Lamb who have

sought my technical input for their research into Georgia’s DRE voting system.

      6.     I have observed the operation of the Diebold DRE system in polling

places in multiple Georgia counties over the course of multiple elections and in

county election offices where the system was being programmed and tested. I have
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observed the testing procedures conducted prior to machine deployment to the

polling places.

        7.    I have also observed the Diebold DRE voting machines being hacked

in demonstrations, most recently in a public seminar at Georgia Tech in April

2018.

        8.    I am not a retained expert by any party to this action, but in the desire

to aid the Court in the evaluation of the Defendant’s assertions, I wish to

voluntarily offer my opinion on one topic included in the State Defendant’s

response brief [Doc. 265, page 3]

        9.    In summary, Defendants’ briefs and supporting declarations show a

lack of basic understanding of the nature of current cybersecurity attacks being

used against the nation’s election systems and commercial systems. Defendants do

not appear to understand the most basic realistic threats to the state’s election

system which may have already altered the operation of the system in undetected

ways.

        10.   Defendants ridicule Coalition Plaintiffs, stating, “‘Undetectable

manipulation’ is Plaintiffs’ phrase de jure for the convenient reason that it dodges

any test for corroboration. Evidence of ‘undetectable manipulation’ is

oxymoronic.”
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      11.    Defendants assert that Plaintiffs have concocted the idea of

undetectable manipulation to suit the needs of the present lawsuit. This is a false

assertion. Undetectable manipulation is the most common, widely recognized, and

serious threat facing computer systems, including election systems. Techniques for

undetectable manipulation, methods for counteracting the threats, and the

capabilities that are needed to mount a successful defense to such attacks are

defined by the National Institute of Standards and Technology (NIST) and are

contained in the standard curriculum in virtually every university level course on

cyber security. Furthermore, as the following citations show, the threat is not

speculative or theoretical but rather is the fundamental building block of modern

cyber security and cyber warfighting.

      12.    Undetectable manipulation is a standard behavior of Advanced

Persistent Threats 1 or APT, the threats that the US Intelligence Agencies have

determined with high confidence attacked US election systems in 2016 and

continue to attack the mid-term elections 2. According to NIST, “The advanced

persistent threat: (i) pursues its objectives repeatedly over an extended period of




1
  National Institute of Standards and Technology,
https://csrc.nist.gov/Glossary/?term=2856
2
  https://www.burr.senate.gov/press/releases/senate-intel-committee-releases-
unclassified-1st-installment-in-russia-report-updated-recommendations-on-
election-security
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time; (ii) adapts to defenders’ efforts to resist it; and (iii) is determined to maintain

the level of interaction needed to execute its objectives.” 3 Attacks due to APTs are

mounted by state and nonstate actors and constitute one of the principle attack

vectors for modern cyberwarfare. 4

      13.      There is ample publicly disclosed cause to believe 5 that US election

systems (including Georgia’s) have been subject to APT attacks that yield

undetectable manipulation. APTs use exactly the attacks that have been

documented in classified and unclassified analyses of Russian activities 6 to disrupt

and hack US election systems 7 “A persistent attack will probe networks, scour

social networks for information they can find about the target’s employee and

perform other analysis and reconnaissance. Any organization that does not think

they enough value to motivate a criminal to be persistent should be out of

business.” 8

      14.      One characteristic of attacks mounted by APTs is that they can evade

detection by doing damage before IT managers, antivirus companies, and



3
  National Institute of Standards and Technology
https://csrc.nist.gov/Glossary/?term=2856
4
  Jeffrey Carr, Inside Cyberwarfare, O’Reilly Publishers, 2009. P.119
5
  https://www.justice.gov/file/1080281/download
6
  ibid
7
  https://www.documentcloud.org/documents/3766950-NSA-Report-on-Russia-
Spearphishing.html#document/p1
8
  Ira Winkler APT Security, p. 39
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hardware/software vendors are aware that an attack has taken place: “If a virus can

infect 10 million computers...in the hours before a fix is released, that’s a lot of

damage. What if the code took pains to hide itself, so that a virus wasn’t

discovered for a couple of days? What if [a] worm just targeted an individual, and

deleted itself before off any computer whose userID didn’t match a certain

reference?” 9

      15.       Current textbooks on methods for subverting operating systems,

answer these questions in great detail and should be well-known to election

officials who operate the computer systems that are targeted by APTs: “A back

door in a computer is a secret way to get access….They are very real…To remain

undetected a back-door program must use stealth…Professional attack operations

usually require specific and automated back door programs—programs that do

only one thing and nothing else. This provides assurance of consistent results.” 10

The software that installs these back-door programs and then erases all evidence of

its existence is called a Rootkit.

      16.       There are catalogs of viruses and other programs that install Rootkits.

These catalogs are studied by undergraduate computer science students to prepare



9
  Bruce Schneier, Secrets and Lies: Digital Security in a Networked World,” John
Wiley & Sons, 2000 p. 158
10
   Greg Hoglund and James Butler, “Rootkits: Subverting the Windows Kernel,”
Addison-Wesley, 2006 pp. 2–3
       Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 58 of 128




them to counter APTs in practice. Among these programs are Polymorphic

Viruses: “These are the most difficult to detect. They have the ability to mutate,

which means that they change the viral code known as the signature each time they

spread or infect. Thus, antiviruses that look for specific virus codes are not able to

detect such viruses.” 11

      17.    Standard textbooks 12 list the many forms that a back door might take:

      a.     “Install an altered version of login, telnetd, ftpd, rshd, inetd, or some

other program; the altered program usually accepts a special input sequence 13 and

spawns a shell for the user.

      b.     Plant an entry in the .rhosts, .shosts, or .ssh/authorized_keys file of a

user or the superuser to allow future unauthorized access.

      c.     Change the /etc/fstab file on an NFS system to remove the nosuid

designator, allowing a legitimate user to become root without authorization

through a remote program.




11
   Ankit Fadia, “The Unofficial Guide to Ethical Hacking,” Premier Press, 2002 p.
434
12
   Simson Garfinkel, Gene Spafford, and Alan Schwartz, “Practical Unix &
Internet Security (3rd edition), O’Reily Publishers, 2003
13
   This capability is one of the reasons experts are alarmed by unauditable bar
codes in ballot marking devices. Such codes can embed such special input
sequences.
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        d.   Add an alias to the mail system so that when mail is sent to that alias,

the mailer runs a program of the attacker’s designation, possibly creating an entry

into the system.

        e.   Change the owner of the /etc directory so the attacker can rename and

subvert files such as the /etc/passwd and /etc/group at a later time

        f.   Change the file permissions of /dev/kmem or your disk devices so they

can be modified by someone other than root.

        g.   Change a shared library or loadable module to add a system call

option to allow a change to superuser status when using a seemingly innocuous

program,

        h.   Install a harmless-looking shell file somewhere that set SUID so a

user can use the shell to become root.

        i.   Change or add a network service to provide a root shell to a remote

user.

        j.   Add a back door to the sshd binary so that a specific username and

password is always accepted for login, whether or not the username exists in the

accounts database. Alternatively, the sshd binary might log all accepted usernames

and passwords to a third-party machine.
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       Coupled with all of these changes, the attacker can modify timestamps,

checksums, and audit programs so that the system administrator cannot detect the

alteration!” 14

       18.    Contrary to Defendants’ claims that hackers “usually leave

footprints,” standard undergraduate cybersecurity textbooks describe how it is

usual practice for APT attackers to cover their tracks and therefore not leave

footprints: 15 “After an attack succeeds, most attackers immediately cover their

tracks. Log files are adjusted, hacking tools are hidden, and back doors are

installed, making future re-invasions simple. Rootkit has a number of tools to do

this, and many others are out there. All hackers have tools to hide their presence.

The most common tool is rm, and it is used on syslog, utmp, utmpx files.”

       19.    Every computerized system in the Georgia Election System, including

voter registration databases, employee and recruitment websites, network

connected computers for provisioning systems of the kind located at the Kennesaw

State University Center for Election Systems and which have now been transferred

to the Office of the Secretary of State, Epollbooks used to provision voter cards on

election day, servers used to provision ballot definitions on PCMCIA cards used in



14
  Garfinkel et al p. 738–739
15
  William R. Cheswick, Steven M. Bellovin, and Aviel D. Rubin, “Firewalls and
Internet Security (Second Edition): Repelling the Wily Hacker,” Addison-Wesley
Professional Computing Series, 2003, pp. 126–127
       Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 61 of 128




Diebold voting terminals, the voting terminals themselves, GEMS servers and

related software for tallying election night results, optical scanners used to process

absentee and provisional ballots, and election night reporting systems all contain

operating systems that are susceptible to the attack described above. Contrary to

Defendants’ assertions direct Internet access is not required to mount such

attacks.16

      20. As these citations make clear, undetectable manipulation is a grave

threat to Georgia’s paperless DRE voting system because APTs have plainly

targeted the American election system, including in all likelihood Georgia’s

system. It is well within the capabilities and consistent with usual practice of

those APTs to utilize undetectable manipulation. Given the inability of the State to

determine with any certainty whether the software presently being utilized by

Georgia’s DRE voting system has been maliciously altered at any point in the past,

it will be impossible for Georgians to have any reasonable degree of confidence in

the integrity of the election results produced by Georgia’s DRE voting system.




16
  Public demonstrations conducted by J. Alex Halderman in an open Seminar at
Georgia Tech (April 16, 2018), witnessed by members of the public and legislative
representatives from the Georgia House of Representatives and summarized for
the general public in a New York Times article
(https://www.nytimes.com/2018/04/05/opinion/election-voting-machine-hacking-
russians.html). A written summary version of this experiment is being prepared for
publication in technical journals.
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Pursuant to 28 U.S.C. § 1746, I declare and verify under penalty of perjury that the

foregoing is true and correct.

Executed on this date, August 20, 2018.




                                             RICHARD A. DeMILLO
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               EXHIBIT 1
          Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 64 of 128
Richard DeMillo                                          1                                         March 28, 2018




                                            Richard A. DeMillo

                                              Curriculum Vita
Present Position
          •    Georgia Institute of Technology, Atlanta GA 30332
                  o Charlotte B. and Roger C. Warren Professor of Computing
                  o Professor of Management,
                  o Executive Director, Center for 21st Century Universities
Education
          •    BA, Mathematics, 1969, College of St. Thomas, St. Paul Minnesota
          •    Ph.D., Information and Computer Science, 1972, Georgia Institute of Technology, Atlanta, Georgia

Professional Experience
                                Charlotte B. and Roger C. Warren Professor of Computing
2015-Present
                                Executive Director, Center for 21st Century Universities
                                Georgia Institute of Technology
                                Atlanta, GA 30332
                                Distinguished Chief Scientist
2013-2014
                                Qatar Computing Research Institute
                                Qatar Foundation
                                Doha, Qatar
                                Professor of Management
2002-Present
                                John P. Imlay Dean of Computing (2002-2009)
(On Leave 2013-
                                Director, Georgia Tech Information Security Center (2002-2004)
2014)
                                Georgia Institute of Technology
                                Atlanta, Georgia 30332
                                Chief Technology Officer
2000-2002
                                Vice President
                                Hewlett-Packard Company
                                3000 Hanover Street
                                Palo Alto, CA 94303
                                General Manager
2000
                                Internet Systems Group
                                Telcordia Technologies (Formerly Bellcore)
                                445 South Street
                                Morristown, NJ 07960
                                Vice President and General Manager
1994-2000
                                Information and Computer Sciences Research
                                Telcordia Technologies (Formerly Bellcore)
                                445 South Street
                                Morristown, NJ 07960
                                Visiting Professor
1994
                                Department of Electronics and Informatics
                                University of Padua
                                Padua, Italy
                                Director
1989-91
                                Computer and Computation Research Division
                                National Science Foundation
                                1800 G Street NW
          Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 65 of 128
Richard DeMillo                                           2                                         March 28, 2018


                                Washington, DC
                                Professor of Computer Science and Director
1987-96
                                Software Engineering Research Center
                                Purdue University
                                West Lafayette, Indiana
                                Director
1985-87
                                Software Engineering Research Center
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Assistant Director for Research
1984-87
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Professor of Information and Computer Science
1981-87
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Associate Professor of Information and Computer Science
1976-81
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Assistant Professor
1972-76
                                Department of Electrical Engineering and Computer Science
                                University of Wisconsin, Milwaukee
                                Milwaukee, Wisconsin
                                Research and Teaching Assistant
1969-72
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Research Assistant
1969-71
                                Los Alamos National Laboratory
                                Los Alamos, New Mexico

Research and Consulting Experience
          Rich has been a consultant to many major corporations and other organizations. Detailed descriptions of
          recent consultantships are available upon request:

Board Memberships
          Rich has been a board member and director of many public and private corporations, foundations and
          philanthropic organizations. Detailed descriptions of recent board memberships are available upon request:



Professional Recognition
          ANAK, Outstanding Faculty Award (2106)
          American Publishers Association Best Book Award (Education, 2016)
          Inaugural Fellow of the Lumina Foundation
          Fellow of the Association for Computing Machinery
          Fellow of the American Association for the Advancement of Science
        Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 66 of 128
Richard DeMillo                                    3                                        March 28, 2018


Panels and Advisory Positions
       1983:       Secretary of Defense Blue Ribbon Panel (The Eastman Panel) to Define the Software
                   Engineering Institute (SEI)
       1983-1985: IBM Software Tools Advisory Board
       1984:       Congressional Office of Technology Assessment Panel on Research Directions in Software
                   Engineering.
       1987:       National Research Council Committee on Computer Security
       1993-1996: National Research Council committee on Statistical Methods in Software Engineering
       1992-1993: FAA VSCS Independent Fault Analysis Team
       1995:       National Research Council committee on Commercial Software Practices in Defense
                   Software
       1995-2000: Princeton University Computer Science Advisory Committee
       1998-2000: Advisory Board of the College of Computing, Georgia Tech
       2000-3:     Georgia Tech Advisory Board
       2001-2005: Advisory Board of the Johns Hopkins University Computer Sciences Department
       2003-2005: National Research Council Committee on Telecommunications Research
       2004-2005: National Research Council Committee on Network Science and the Army’s Future Needs
       2005        Defense Science Board Committee on Security of Software
       2010-2013 Strategic Advisory Committee (Chair) Qatar Computing Research Institute
       2012        AMA Advisory Board on Medical Education
       2012-2016 World Economic Forum Global Action Council on the Future of Universities
       2012-2015 Pacific Northwest National Laboratories National Security Advisory Council
       2012-2016 Western Governors University Advisory Board
       2013-2016 Singapore Institute of Technology and Design Advisory Board
       2015        IEEE Computer Society, Research Advisory Board



   Editorships
       1990-96     Series Editor, Software Science and Systems, Plenum Publishing Company
       1989-96     Editorial Board, ACM Transactions on Software Engineering and Methods
       1988-94     Editorial Board, IEEE Transactions on Software Engineering
       1985-87     Editorial Board, Information and Control
       1982-85     Editorial Board, ACM Transactions on Mathematical Software

Biographical
       •   American Men and Women of Science
       •   Who’s Who in America
       •   Who’s Who in the World
        Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 67 of 128
Richard DeMillo                                       4                                        March 28, 2018


Professional Societies
        • Association for Computing Machinery
        • American Mathematical Society
        • Mathematical Association of America
        • Society for Industrial and Applied Mathematics
        • American Association for the Advancement of Science
        • Association for Symbolic Logic
        • IEEE
Rich has served on numerous program committees for professional meetings. In addition, Rich has served as
Chairman or Program Chairman for the following annual conferences
        •   15th International Conference on Software Engineering, 1993
        •   ACM SIGSOFT Annual Symposium, 1989 (Testing, Analysis and Verification)
        •   ACM Computer Science Conference, 1988
        •   ACM Symposium on Theory of Computing, 1984
        •   NSIA Conference on Test and Evaluation, 1983
        •   ACM Symposium on Principles of Programming Languages, 1982
        •   First IEEE Symposium on Security and Privacy, 1981



Publications
Books
•   R. A. DeMillo, An Education without Measure: Teaching and Learning the Science of Everyday Life, to be
    published 2019
•   R. A. DeMillo, Revolution in Higher Education: How A Small Band of Innovators will Make College Accessible
    and Affordable, MIT Press 2015 (foreword by Amb. Andrew J. Young)
•   R. A. DeMillo, Abelard to Apple: The Fate of American Colleges and Universities, MIT Press, 2011.
•   R. A. DeMillo and J. R. Rice, Editors, Studies in Computer Science, Plenum Press 1994
•   R. A. DeMillo, W. M. McCracken, R. J. Martin, J. F. Passafiume, Software Testing and Evaluation, The
    Benjamin-Cummings Publishing Company, Inc. 1986.
•   G. I. Davida, R. A. DeMillo, D. P Dobkin, M. A. Harrison, R. J. Lipton, Applied Cryptology, Cryptographic
    Protocols, and Computer Security, American Mathematical Society (Applied Mathematics Series), 1984,
    American Mathematical Society. (Also: Indonesian edition, translated by Pangeran Sianipar, 1994)
•   R. A. DeMillo, D. P. Dobkin, A. K. Jones, and R. J. Lipton, Editors, Foundations of Secure Computation,
    Academic Press, 1978

Special Publications
•   “Statistics and Software Engineering”, National Academy of Sciences, National Research Council Committee
    on Statistics, Document Number, 1996, Washington, DC.
         Case 1:17-cv-02989-AT Document 277 Filed 08/20/18 Page 68 of 128
Richard DeMillo                                           5                                          March 28, 2018


•   “Report of the Voice Switching and Control System (VSCS) Independent Fault Tolerance Analysis Team
    (VIFTAT),” A Report to the Federal Aviation Administration, MITRE Report (January, 1993).
•   "Computer and Information Security in the Department of Energy's Classified Environment" (U), National
    Academy of Sciences, National Research Council Committee on Computer Security Doc. No. 88-EEB-2,
    1988, Washington, DC (Classified Report)
•   R. A. DeMillo, “Operational Readiness of the Patriot Air Defense System Software”(U), Report to Director
    Operational Test and Evaluation, USDRE, 1985 (Classified Report)
•   R. A. DeMillo, "Software Test and Evaluation Manual: Volume 1, Guidelines for the Treatment of Software
    in Test and Evaluation Master Plans", Sept., 1984. Issued by the Office of the Secretary of Defense as
    Attachment to Department of Defense Directive 5000.3 ("Test and Evaluation") DoDD 5000.3-M-3.
•   "Software Testing", Encyclopedia of Information and Computer Science, 3rd Edition, Anthony Ralston
•   “Observing the 2006 Presidential Elections in Venezuela: Final Report of the Technical Mission,” The
    Carter Center, 2007
•   “New Ecosystems in Higher Education and What They Mean for Accreditation and Assessment, in WASC
    Concept Papers, 2nd Series: The Changing Ecology of Higher Education and its Impact on Accreditation,
    March 2013, Western Association of Schools and Colleges, Accrediting Commission for Senior Colleges
    and Universities.
•   “Governance for a New Era: A Blueprint for Higher Education Trustees,” Project on Governance for a New
    Era, Benno Schmidt, Chairman, August 2014
•   “Deliberate Innovation, Lifetime Education: Report of the Commission on Creating the Next In Education,”
    March, 2018. Georgia Tech

Recent Articles, Op-Ed and Opinion
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Invited Talks, Keynotes
Rich is a frequent speaker at conferences and events. Details are available upon request

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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                          )   2989-AT
                                             )
BRIAN P. KEMP, et al.                        )
                                             )
Defendant.                                   )
                                             )
                                             )

                 DECLARATION OF VIRGINIA MARTIN

        VIRGINIA MARTIN hereby declares as follows:


        1.     I am the Democratic Election Commissioner in Columbia
County, New York. I submit this affidavit in support of petitions to use
optical scanners with paper ballots to conduct the General Election in the
State of Georgia on November 6, 2018.


        2.     I have been employed as election commissioner since 2008.
The role of commissioner in Columbia County is a full-time salaried role
overseeing three full-time Democratic staff and 150 or more Democratic
seasonal and election-day workers.


        3.     I hold a BA in English and Communication from Skidmore
College and an MS and a PhD in Communication and Rhetoric from
Rensselaer Polytechnic Institute. I serve on the advisory board of the
National Election Defense Coalition. In the past I have served as a
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pollworker in Columbia County, New York. In addition to all the
administrative duties of commissioner, I also conduct all training for the
pollworkers who handle pollbooks and ballots and, with assistance by my
Republican counterpart Jason Nastke, have designed or fine-tuned all of the
systems used in our elections.

      4.     Because of my extensive experience in running secure elections
using optical scanners and hand counting a high percentage of the paper
ballots therefrom, I have frequently been called to confer with and advise
election-integrity experts, attorneys in election cases, other election officials,
and other advocates about the security and feasibility of such processes.

      5.     Columbia County currently has approximately 43,000 active
voters in 50 precincts.

      6.     Since 2010, the Columbia County Board of Elections,
comprising Commissioner Nastke and myself, has run 28 elections on
Dominion ImageCast optical scan voting machines, followed by a hand
count of the voter-marked ballots which I oversee with Commissioner
Nastke.

      7.     New York State was the last state to comply with the Help
America Vote Act. This was, as I recall, due to its refusal to adopt any of the
then-available systems, which did not meet its standards for accuracy and
security, systems which included DREs such as those currently employed by
the State of Georgia. To comply with HAVA, New York State demanded
modifications of then-available optical-scan systems and successfully
secured modifications that it deemed satisfactory from vendors Sequoia
Voting Systems, which preceded Dominion, and from ES&S. The system
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that New York State demanded was an optical-scan system utilizing voter-
marked paper ballots and a post-election hand-count audit. It rejected DRE
systems altogether as insecure and unauditable.

      8.     I have a great deal of experience over dozens of elections
overseeing the optical-scan voting, the secure chain of custody, the
reconciliation, and the hand-counting of paper ballots. In most elections,
multiple races have been hand-counted on each ballot, and in every election,
the hand counts were completed efficiently and in a reasonable time frame.

      9.     I have read in the Coalition Plaintiffs’ Motion for Preliminary
Injunction Brief the declarations by Matt Bernhard and Logan Lamb, and
they are consistent with the academic research on electronic systems that I
have consulted during my tenure as commissioner. I have relied on that body
of research in establishing the secure and accurate election protocols in use
in Columbia County. My reasoning for supporting the use of paper poll
books and optically scanned voter-marked paper ballots followed by a robust
hand-count audit open to voters, candidates, parties, the public and of course
administrators, in Georgia’s upcoming election, follows.

      10.    The vulnerabilities of electronic processes, and particularly
those used in elections, are widely known and have been documented for
decades by computer scientists in studies that Commissioner Nastke and I
have relied on.

      11.    Therefore, wholly electronic processes are inappropriate for
employment in the counting of the votes that every citizen is entitled to cast
and to have counted accurately.
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      12.     The electronic processes employed in Georgia’s Diebold DRE
system electronic poll books are subject to the same vulnerabilities and thus
are similarly inappropriate in elections, as revealed in the declarations of
Dana Bowers and Jasmine Clark. In my opinion, malfunctioning of
electronic processes may be responsible for the difficulties encountered by
Robert Kadel, Carri Gibbs Luce, and Laurie Adelholt Mitchell.

      13.     Optical scanners and voter-marked paper ballots can easily
provide for a near-total guarantee that tabulation processes can and will
successfully count votes as voters cast them. This can be accomplished by
properly securing the paper ballots and by conducting a robust and
scientifically sanctioned risk-limiting audit that is open to candidates,
parties, voters, and election officials.

      14.     Securing paper ballots at the poll site and during transport to
their ultimate destination for central count is an existing part of the Georgia
elections process, given that pollworkers currently secure provisional hand-
marked paper ballots marked in the polling place. Securing more ballots will
be a very simple process, easily implemented with current written
procedures.

      15.     Voting by voter-marked paper ballot, even when paired with
tabulating by optical scanners, provides a means by which vote-counting can
be insulated from the vulnerabilities associated with electronic processes.
Accusations from Defendants that a paper-ballot process is “Luddite”
displays a shocking ignorance of the almost universal findings of computer
scientists in the field of election security, virtually all of whom have
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concluded that voter-marked paper ballots provide the only secure way to
conduct an accurate secret-ballot election.

      16.    Voter registration processes that are conducted centrally are
subject to fewer opportunities for inadvertent or malicious errors to be
introduced into voter rolls. Disseminating those processes to poll sites on
electronic poll books introduces many more opportunities for problems, as
evidenced in the declarations cited above. In my experience using paper poll
books (rather than electronic pollbooks), I have never seen voter data
concerning party enrollment, precinct, or poll site being inexplicably
changed or changed without authorization.

      17.    It is clear to me that elections in Georgia would gain vast
benefit in accuracy, fairness, and voter confidence by reverting to paper poll
books, which, in recording their data in hard copy, provide a durable record
that cannot with the flip of an electron be changed without explanation and
without public notice.

      18.    Defendants say it is not feasible to transition from a system that
employs both DRE and optical-scan voting to a purely optical-scan voting
system in time for the November 2018 election. As commissioner I have
experience with a major voting-system transition, and it is my opinion that
the transition that petitioners propose can be effected smoothly, securely,
and effectively for the November election.

      19.    In September 2010, Commissioner Nastke and I ran the first
electronically counted election in Columbia County when New York State
mandated a transition from mechanical lever voting machines to a system
employing electronically tabulating optical scanners and voter-marked paper
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ballots subject to a mandatory hand-count audit. Commissioners in 48 other
counties in the state had made a similar transition during a 2009 pilot of the
new voting systems, and the remaining 14 made the transition with
Columbia County in 2010. I conferred with other such commissioners and
exchanged information on processes and administrative changes necessary
for this significant transition of voting procedures.

       20.    During these two years, counties trained inspectors who
successfully operated electronic machines and who successfully provided
voters with the correct paper ballot for their election. Counties placed paper
and ballot-printing orders that were successfully made and filled without
difficulty.

       21.    This and the following November election were the first in
which all voters in all counties in the state voted on a system that
electronically tabulated votes from hand-marked paper ballots.

       22.    At the polls, voters were instructed on how to properly mark a
ballot, they signed the paper poll book, they were given a paper ballot and a
privacy sleeve to shield the voted ballot from prying eyes, and they carried
their ballot to a table where they marked their ballot behind the shield of a
privacy booth. In the booth, posted instructions could be consulted once
again. Voters walked their voted ballot to the optical scanner, where a poll
worker provided minimal instruction on how to insert the ballot into the
scanner and how to watch the small LCD monitor to determine if their ballot
had been successfully scanned.

       23.    A small minority of voters had any question about how to vote
a paper ballot, as it is a simple and routine process. In conducting the post
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election hand counts of hundreds of thousands of ballots over the years, my
experience is that it is exceptionally rare to encounter a voter’s ballot
markings that cannot be reasonably interpreted as to the voter’s intent.
Voters simply ask for a new ballot when they make errors in the marking of
their ballot. There is no logical reason to assume that voter confusion will
ensue or that hand-marking ballots will cause numerous indeterminable
votes.

         24.   This and the following November election were the first in
which poll inspectors were required to understand and manage the proper
handling of a wide variety of many new processes, documents, and reports.
Most of those processes, documents, and reports had been developed at the
state level and introduced to the counties, which then implemented them, as
did Commissioner Nastke and I.

         25.   The transition represented a sea change in how elections are
run, changing from a voting mechanism that was solid, immobile, self-
contained, impenetrable, and completely mechanical, to a system based on
electronic tabulating processes reliant on programming, on voter-marked
paper ballots for every single voter, and on far more complicated security
protocols. It was a system that featured dozens more moving parts than a
lever-based election.

         26.   While the transition was challenging, it was successfully made.
No county failed to procure sufficient ballots, to deploy enough machines, to
train enough inspectors, or to have its voters successfully vote. No county
failed to conduct the required post-election 3% hand-count audit.
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       27.    In fact, Columbia County successfully conducted a 100% post-
election hand-count audit, much more than was required. While it was
challenging, it was not impossible and it was successfully completed.

       28.    What’s more, Columbia County developed a simple but airtight
chain-of-custody procedure, for ballots and all other election materials, that
is initiated immediately upon the close of polls. At close of polls, materials
are bipartisanly transported to the Board of Elections to be bipartisanly
secured until hand counted in the days following. It has proved to be
completely effective and efficient, engenders the confidence of voters, and is
the process still in use.

       29.    In my estimation, Columbia County’s and more generally the
State of New York’s transition from mechanical to electronic voting
represents a far greater change, incorporating the introduction of inestimably
more complicated processes, than would Coalition Plaintiffs’ proposed
transition from one electronic voting process to a paper ballot/optical
scanning process. The proposed transition is simple in comparison because
an existing electronic voting process utilizing DREs and some number of
optical scanners tabulating votes on voter-marked paper ballots would shift
to a system exclusively of optical scanners tabulating votes on voter-marked
paper ballots. Simply put, the proposal is the logical and essential move
from one almost completely insecure and unauditable electronic voting
process to a secure and auditable one. Even if some administrative
inconvenience is incurred in making the near-term transition, it is an
essential price to pay to secure the mid-term election.
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      30.    In my estimation, should New York State decide to change to
another electronically based election system, that change could be
accomplished with far less upset and upheaval than was the change from
mechanical to electronic in 2010.

      31.    In my estimation, and given that the State of Georgia already
employs an electronic DRE system, and already employs paper ballots and
optical scanners for provisional and mail ballots, and given that many
individuals who are voters have encountered optically scanned forms at
some point in their lives, the transition from using the electronic DRE
machine to an electronic optical scanner should not present an infeasible
challenge for election administrators, poll workers, or voters.

      32.    To lessen the burden of change in the first rollout in November
2018, counties might be provided the option to conduct all scanning
centrally, collecting voters’ ballots at the poll sites in secure ballot boxes
similar to those currently used for provisional ballots. Nevertheless, the
operation of an optical scanner is not in my experience a particularly
difficult process for a pollworker to master, particularly since Georgia has
used the AccuVote optical scanners for over 10 years and many elections.

      33.    In my estimation, the optical scan system in use in New York
State is fairly to very easy for administrators and poll workers to use. It is
extremely easy for voters to use. As with the AccuVote system, a paper
ballot that has been marked by a voter is fed into the scanner, which then
stores it securely. AccuVote scanners are used successfully by temporary
Election Day pollworkers in thousands of polling places across the country,
and those polling places would generally have no special technically trained
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workers. Even if rare mechanical scanner problems are unexpectedly
encountered, paper ballots can always be secured and counted later—which
is not the case with malfunctioning DRE units.

      34.    It is my experience as an election commissioner that election
boards procure their ballot paper or their printed ballots from vendors far
and wide, vendors not limited to the state of residence, that more than one
paper stock will perform well in a particular scanner, and that vendors are
able and willing to produce ballots that conform to a scanner’s
specifications.

      35.    In fact, ES&S, whose DREs the State of Georgia currently uses
and with whom its election boards have a working relationship, prints ballots
or contracts out ballot printing and would be one logical source for ballots.

      36.    Another source for ballots would be the counties’ current
printers for mail and provisional ballots, who simply would need to increase
their print runs for every ballot style. All ballot styles are required to be
printed under the current election scheme. If they currently print a number of
mail ballots equal to 15% of the voter rolls, they would simply need to
increase that number by a factor of five or six. In small and modest-sized
counties, which the vast majority of the state’s counties are, the increase
could be easily and probably gladly accommodated. In the larger counties,
the increased print runs would represent more of a challenge to printers, but
perhaps a sufficient quantity could be made available for the first part of the
early-voting period and then the balance provided later.

      37.    In terms of cost per ballot, in Columbia County, our board
prints ballots and provides optical-scanner voting machines for the school
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districts in our county. We charge them for our out-of-pocket costs, which
for ballot printing include the cost of paper stock and the ballot images made
on the board’s printer. We also charge a nominal fee for administrative
work, some unspecified portion of which would include ballot-related
services. Our charge to schools in 2018 was $1,000 administrative per
machine and $.131 per ballot. If $250 is attributable to ballot preparation, for
a school that purchased a very small but typical run of 2,000 ballots, the
actual cost per ballot was $0.256, considerably less than the $0.35 per ballot
quoted by Defendants. At that rate, for 5,000 ballots, still a small run, the
price, assuming administrative costs increased to $500, would calculate to
$0.152. The economies of scale involved in printing tens of thousands of
ballots that simply require shrink wrapping for security purposes may result
in prices well below the $0.35 quoted by State Defendants [Doc.265-6
Bailey Declaration p 3. ¶ 8], even allowing for a reasonable markup.

      38.    In preparation for this declaration, I interviewed Dave Haines,
one of the owners of K&H Integrated Print Solutions, one of the largest
ballot printers in the country. He told me that standard ballot printing cost
for AccuVote ballots is $0.26 per ballot, and provided me with customer
invoices which are public records for verification of that printing cost for
polling place ballots. The standard pricing is consistent with my expectation
for market prices of commercial ballot printing.

      39.    Mr. Haines recommended that Georgia counties can most likely
feasibly increase their print runs with their traditional ballot printers who
should be able to accommodate them, but his company is prepared to supply
ballots to Georgia counties at $0.26 per ballot on reasonable notice if supply
becomes an issue.
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      40.   In preparation for this declaration, one of the election officials I
conferred with was Angie Leath, Elections Director in El Paso County,
Colorado, a county with approximately 466,000 registered voters, as well as
other Colorado election officials. El Paso County conducts elections with
hand-marked paper ballots and counts them centrally in the Election Office.

      41.   I discussed El Paso County’s long-time use of the AccuVote
Optical Scan system with Ms. Leath. El Paso County upgraded their voting
system in 2017 and no longer uses the Diebold AccuVote scanners. Ms.
Leath informs me that hourly throughput was 600-800 without problem.
Throughput was dependent on the length of the ballot and the number of
races on the ballot, with the machine able to throughput the higher number
of ballots when the ballot was shorter and had fewer races. The capacity of
the 128k memory card was as many as 54 ballot styles, the county’s
maximum, for a relatively simple election with few races.

      42.   This throughput rate and capacity is significantly in excess of
the estimates in State Defendant’s Declaration by Chris Harvey [Doc 265-2,
¶21]. Ms. Leath’s estimates of problem-free high-volume throughput were
consistent with other election officials I conferred with who have personally
used AccuVote scanners in relatively high-volume central-count operations
without problems.

      43.    No official I talked with reported instances of AccuVote
scanners “breaking” or malfunctioning because of volume, despite Merritt
Beaver’s concerns expressed in Document 265-1 ¶ 9.

      44.    Ms. Leath informed me that El Paso County currently has 250-
300 AccuVote Optical Scanners in storage, along with a similar number of
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black-box units on which each sits and into which ballots can securely drop
after scanning, both of which can be made available for sale. It is my
understanding that the market value of used AccuVote scanners is very weak
and prices are low, as evidenced by the fact that Adams County, Colorado
gave Georgia 154 AccuVote scanners in 2016 for the cost of transportation.
(https://www.ledger-enquirer.com/news/politics-
government/election/article96275322.html )

      45.       Concerns relating to AccuVote scanner availability expressed
by Georgia’s officials in their declarations suggest that they misunderstand
the current state of the market for this older equipment.

      46.       In our conversation concerning the availability of ballot
printing for AccuVote scanning, Ms. Leath informed me that the paper used
in the AccuVote Optical Scanner is a common paper, and that El Paso
County used Springhill 80 pound stock.

      47.       My conversations with election officials who have recently
used and studied AccuVote scanners in high-volume operations caused me
to conclude that scanning equipment and ballot-printing capacity should be
reasonably available for the November 2018 election.

      48.       I have reviewed public records information obtained from
Henry County, Georgia and Morgan County Georgia, regarding operating
experience with and availability of optical scanners, and ballot printing
orders, all of which have informed my opinion that adequate AccuVote
ballot scanning capacity is readily available and that Georgia’s experience,
like other states’, is that the system is reliable and generally mechanically
trouble-free.
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      49.    It is my experience as an election commissioner that voters gain
great confidence and reassurance from casting their votes on a paper ballot
that they know survives election day and can be examined to verify their
votes. It is my experience that voters are horrified that some jurisdictions,
thankfully none in New York State, conduct elections without verifiable
paper ballots. It is my experience that voters in my county are exceedingly
confident that the vote counts that Commissioner Nastke and I certify and
which they are welcome to attend and closely observe are absolutely correct.

      50.    It is my experience as an election commissioner that voters are
reassured by the presence of non-electronic pen and paper processes at the
polls, as present in our paper poll books and our paper ballots. Many voters
are skeptical of the mutable and hackable nature of electronic processes as
they have been introduced into elections, especially in light of the last two
years news of foreign nation-state election hacking attempts.

      51.    I as commissioner would not certify an election if I could not
personally know, via non-electronic means, either by my own visual
examination or that of other trusted individuals, that the vote totals as
calculated are accurate. I so testified to the New York State Assembly
Election Law Committee in 2010 before the transition to electronic voting
machines was made. Since that transition, both Commissioner Nastke and I
have personally or through trusted individuals verified the accuracy of vote
totals in every election. We have done so efficiently, quickly, and without
incurring high costs.

 I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746,

 that the foregoing is true and correct.
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                              )
DONNA CURLING, et al.                         )
                                              )
Plaintiff,                                    )
                                              ) CIVIL ACTION FILE NO.:
vs.                                           ) 1:17-cv-2989-AT
                                              )
BRIAN P. KEMP, et al.                         )
                                              )
Defendant.                                    )
                                              )
                                              )



                DECLARATION OF AMBER F. McREYNOLDS


          AMBER F. McREYNOLDS hereby declares as follows:

      1. I am currently the Executive Director for the Vote At Home Institute and

         Coalition focused on improving the voting experience for voters across the

         country and implementing convenient voting options to include effective

         ballot delivery systems (commonly known as ballots by mail) along with in

         person voting options to ensure voters have convenient options.

      2. Until August 15, 2018, I was the Elections Director for the City and

         County of Denver. I administered elections in Denver for 13 years and

         have worked in public policy and administration for over 16 years. I served

         as the Director of Elections for the past 7 years, Deputy Director of
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   Elections from 2008 to 2011, and Operations Manager/Coordinator from

   2005-2008.

3. Denver has approximately 500,000 registered voters and conducts 2-4

   elections each year. The elections include municipal general and municipal

   run-off, school board, special district, primary, general, presidential.

4. My educational background is as follows:

   a. Education:

      •    Masters of Science – Comparative Politics, London School of
           Economics & Political Science, 2002
      •    Bachelor of Arts – Political Science and Speech Communications,
           University of Illinois, 2001

   b. Professional Certifications:

      •    Certified Elections/Registration Administrator (CERA), Election
           Center (2010 – Present)
      •    Certified Colorado Election Official (2007 – Present)
      •    GOALS Program, City and County of Denver

   c. Professional Memberships and Affiliations:

      •    Advisory Committee, MIT Election Data and Science Lab
      •    The Election Center (National Association of Election Officials)
      •    Circle of Advisors, Democracy Fund, Election Validation Project
      •    International Association of Government Officials (iGO)
      •    Colorado County Clerks Association
      •    Denver Metro Chamber of Commerce
      •    Leadership Denver 2016-2017, Denver Leadership Foundation
      •    Women’s Foundation of Colorado
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      •     Metro Denver Chamber of Commerce
      •     Women’s Chamber of Commerce, Denver, Colorado
      •     Project Management International
      •     Alumni and Friends of the London School of Economics USA
      •     University of Illinois Alumni Association
      •     Mentor – Humphrey School of Public Affairs – University of
            Minnesota


5. I was qualified as an expert witness in the field of elections, in the Civil

    Action No. 17-02016 (RC), U.S. District Court for the District of

    Columbia (2017) and Gessler v. Johnson, 2011CV6588, Denver District

    Court (2013).

6. In my role as the Director of Elections in Denver, I focused on continual

    process improvement which includes implementing innovative solutions to

    improve the voter’s experience. During my tenure, the Denver Elections

    Division earned national awards from the Election Center and the National

    Association of Counties for Ballot TRACE (a first-in-the-nation ballot

    tracking, reporting, and communication engine), iAPP (iPad Accessibility

    Pilot Project), and eSign (a first-in-the-nation Digital Petition and Voter

    Registration Drive Application). Denver has also been recognized by the

    International Centre for Parliamentary Studies and received International

    Electoral Awards for Ballot TRACE and eSign. In addition, the Denver

    Elections Division has released other innovative solutions including the
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    Denver Votes mobile application, enhanced contextual and behavioral

    marketing strategies to encourage civic engagement, interactive customer

    service platforms, and implemented a new voting system in 2015.

7. I am committed to conducting and promoting fair, accessible, secure,

    transparent, and efficient elections. I currently serve on the Council of

    State Government’s Overseas Voting Initiative’s Technology Committee,

    Advisory Committee of the MIT Election and Data Science Lab, Circle of

    Advisors for the Democracy Fund’s Election Validation Project, and

    various statewide and national committees and working groups.

8. I have served as an election expert witness, assisted with legislative and

    policy development, and have been invited to participate with various

    national and state professional organizations to identify and implement best

    practices in election administration. Denver has become a national leader

    in election management and innovation and officials from around the

    country and the world visit regularly to learn best practices.

9. Denver has conducted post-election audits for the entire time that I was

    Director and prior to that. The purpose of post-election audits is to verify

    that the outcomes of the electronically counted ballots are correct to a

    predetermined statistical probability. Because all computerized election

    equipment is subject to risk of cyberattacks, it is necessary to test that the
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   outcomes reflect the voters intent as expressed on their individual voter

   verified ballots.

10. Denver recently converted from a random post-election audit to a risk-

   limiting audit procedure in 2017 and will continue Risk-Limiting Audits

   indefinitely. Risk Limiting Audits are a more sophisticated method of

   auditing and reduces the sample size needed to attain assurance of the

   correct outcome.

11. Beginnining in 2008, Denver began converting from a predominantly DRE

   based voting model at polling locations and early voting locations to a

   predominantly paper based system (with a limited DRE option for

   accessibility requirements).

    a. I served as the Deputy Director of Elections during this conversion.

   b. During 2008, Permanent Mail-In Voting went into effect and we saw an

       increase in requests for mail-in ballots. 62% of the Votes cast in the

       2008 Presidential Election were mail-in ballots. 19% were cast at

       polling places. 18% were cast during in-person early voting. The total

       turnout during the 2008 Presidential Election was 89% active voters,

       67% overall including inactive voters.

    c. Denver utilizes a central count environment and has done so before and

       after the 2013 voting model conversion. This means that every single
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       vote is tabulated and tallied in the election headquarters, not at each

       individual voting location.

12. The paper ballots are secured from the point they are cast in vote centers,

    placed in drop boxes, or delivered to post office throughout the process of

    counting and 25 month ballot retention period.. Paper ballots require chain

    of custody logs and security, easily understood by pollworkers. Bi-partisan

    ballot security teams transport the paper ballots from the Vote Centers

    (Polling Places prior to 2013) to the central counting facility.


      INITIATING A VERIFIABLE ELECTION—CORRECTING

                 THE ELECTRONIC POLLBOOK RECORDS

13. An indespensible fundamental element of conducting a verifiable election

    is assuring that voter registration files are accurate and that the pollbooks

    reflect that accuracy to prevent voter disenfranchisement and confusion at

    the polls.

14. The electronic pollbooks (Diebold ExpressPoll units) are a key component

    of Georgia’s certified DRE-based voting system. The electronic pollbooks

    are integral components in the Diebold voting system as used in Georgia as

    the electronic pollbooks generate and code the voter access card with the

    electronic ballot style for activating and presenting the correct ballot on the

    DRE.
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15. I have read in the Coalition’s Motion for Preliminary Injunction Brief the

    examples of discrepancies and voter problems that appear to be caused by

    corrupted files in the electronic pollbook and/or the master voter

    registration files. Such discrepancies and errors must be urgently corrected

    in all counties in order to conduct a fair and accurate election in November.

16. Even if the voter registration files are accurate and updated, if

    ExpressPollbook data discrepancies are present, such as those described in

    the Exhibits to the Coalition Plaintiffs’ Motion as the pollbooks qualify

    voters at the polling place, a fair election will be difficult to conduct.

    Voters will be disenfranchised when they must vote provisional ballots in

    the “wrong” precinct which may not offer the voter all the candidates and

    contest for which they are eligible to vote. In fact, it will be almost

    impossible in real time to determine the correct precinct and ballot style for

    the voter, if such discrepancies are not corrected at a system level.

17. The ExpressPollbook data can potentially be corrupted by multiple means,

    including being connected to and interacting with other corrupted

    electronic components of the DRE voting system.

18. It cannot be overemphasized that both accurate pollbooks and voter-

    verified paper ballots (or a paper audit trail) are required for the conduct of

    a fair and accurate election.
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19. It is imperative that correction of DRE system electronic pollbook and

    voter registration records and the reconciliation of discrepancies

    between the two records be undertaken immediately as a serious effort.

    Researching, confirming accurate information, and correcting errors

    will likely take weeks of work and must begin immediately, regardless

    of what voting system is used in November’s election.

20. Given the significant problems that appear to be of unknown origin in

    the electronic pollbooks and the general need for verification of

    auditable records, I recommend initiating an audit (perhaps by another

    state agency with auditing capabilities or an outside entity with

    expertise in database auditing) to review the pollbook set-up and

    review discrepancies documented previously. I further recommend that

    a back-up (paper or other) be allocated to each polling location to

    ensure efficient and accurate voter processing.


     NECESSITY OF PAPER BALLOTS WITH AUDIT TRAIL

21. In my professional experience, given the technology that is available

    today, a paper ballot with a voter-verified audit trail is unquestionably

    essential in election and voting systems. Colorado has primarily voted

    on paper ballots for a long period of time, with only a short period in

    the mid-2000’s where DRE systems were used in some counties, but
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    were soon abandoned for reliable and verifiable paper ballot systems.

    Denver converted to a primarily paper ballot based system in 2008.

22. After years of developing supporting procedures, regulation and

    statutory requirements for high volume mail ballot processing, in 2013,

    the Colorado legislature passed a bill to mandate mail ballots, with

    exceptions made for in-person vote centers for voters wishing to cast

    their ballots in person. This system replaced a traditional system of

    voting paper ballots in the neighborhood precincts counted by precinct

    optical scanners or central count optical scanners, depending on the

    county.

23. Under Colorado’s current law and with its ballot delivery system, every

    voter is automatically mailed a paper ballot, and voters also have the

    option of voting in person at a vote center also on a paper ballot, even

    if using the accessible ballot marking device. It is essential to use a

    voting system under which the voter directly records their vote on

    paper, or on a voter-verifiable paper record.

24. Virtually all Colorado counties count the paper ballots with optical

    scanners located centrally at each counties’ election office, with results

    tabulated on each counties’ election management server from which

    reports are generated. In the case of a very small number of sparsely
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    populated counties, hand counts of paper ballots continue to be used

    successfully.

25. Colorado has long recognized the necessity of a voter-verified paper

    record of voters’ intent as required by HAVA. Without such a paper

    record created or verified by the voter, the results cannot be audited,

    recounted or otherwise verified. Post-election audits of computer

    tabulations and reports have been required by Colorado law for many

    years. Beginning in 2017, sophisticated Risk Limiting Audits were

    mandated to gain statistically valid assurance that reported election

    outcomes are correct.

26. Post-election auditing is essential because it is well understood by

    election professionals that all computerized election operations are

    vulnerable to error or malicious interference and cannot be accepted as

    accurate without appropriate post-eleciton testing. Post-election

    auditing, conducted in public with oversight and involvement by bi-

    partisan officials, must be successfully completed before Colorado

    county citizen-run election boards certify the election results.

27. Paper ballots counted by optical scanners alone are not enough to

    ensure an accurate count. In Georgia’s case, the Accu-Vote optical

    scanners and GEMS server’s output must be audited to be confident
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    that no material errors, programming mistakes, or hacking has

    impacted the results.

28. It is essential that Georgia conduct post-election audits for paper

    ballots counted on optical scanners and summarized on the election

    management system server (GEMS server.) This fundamental

    requirement is true for all electronically counted ballots, but the need is

    even more undispensible because Georgia’s voting system components

    were exposed to the risk of anonymous malicious users while programs

    were on the server at KSU.

29. Numerous expert resources are available at little nor no cost to advise

    Georgia jurisdictions on implementing various types of post-election

    audits of paper ballot elections. In my experience, the election

    community shares best practices and aids our fellow colleagues in

    urgent circumstances.

30. There is virtually universal agreement by election officials and voting

    system experts that paperless DREs, such as Georgia uses, cannot be

    meaningfully audited or recounted, and that verifiable elections require

    a voter-verified paper audit trail.

31. Georgia was granted $10.8 million in HAVA funding very recently.

    Post election audit programs are a qualified use of HAVA funds, and
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   Georgia can use such funds to implement a program for November’s

   election.

                   PAPER BALLOT PROCESSING

               INCLUDING SIGNATURE VERIFICATION


32. I concur with Coalition Plaintiffs’ recommendation that paper ballots be

   issued in the polling place with currently owned Accu-vote optical

   scanners used for ballot counting and GEMS servers used for consolidated

   tabulation and report generation. I describe below Colorado’s paper ballot

   processing and ballot security system to explain the feasibility of Georgia’s

   use of paper ballots and the necessity of, but easily implemented security

   controls over paper ballots.

33. A key difference between Denver’s current system of voting and the

   Coalition Plaintiffs’ proposed method in Georgia is the very high

   component (95%+) of mail ballot voting in Denver. Extensive mail ballot

   voting is not currently appropriate for Georgia because of Georgia’s

   limited procedural requirements and controls for protecting mail ballot

   voters. However, paper ballot security and processing requirements

   between the two methods are similar and based on the same principals. The

   remaining percentage of votes cast in Denver are on paper and the counting

   procedures are consistent for each and every ballot cast in Colorado. This
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    is different in Georgia because ballots are counted and tabulated differently

    with the variance in the types ballots cast.

34. After ballots are returned to the Denver election office’s via mail,

    dedicated secure drop boxes positioned throughout the county, or in-person

    vote center secured ballot boxes, processes developed over several years

    are used to verify signatures of voters to confirm their eligibility to vote.

35. The signature verification process for large numbers of mail ballot voters

    requires electronic files of multiple exemplar signatures for voters, bi-

    partisan teams of trained signature verification officials, escalation and

    adjudication rules for discrepant signatures, adequate notification of voters

    to permit cures of non-matching signatures, 8 days of time after election

    day to cure signatures, and detailed regulations for the fair adjudication of

    signature verification.

36. Signature verification of mail ballot envelopes can be a subjective process

    that requires well-considered rules, bi-partisan decision making, trained

    workers, bi-partisan oversight and opportunities to challenge officials’

    questionable acceptance or rejection decisions, and multiple levels of

    decision review before a ballot is rejected to be set aside for the cure

    process. Most large Colorado counties use automated signature verification

    computer equipment to assist in the initial reviews of signatures with
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   statistical audits to verify the accuracy of automated signature verification

   process.

37. It is my understanding the Georgia election code does not require bi-

   partisan signature review before signature and ballot rejection, nor bi-

   partisan oversight or challenge opportunities of the process. It is also my

   understanding that mail ballot voters do not have an opportunity to cure

   signatures that appear to have discrepancies before they are

   disenfranchised by ballot rejection. This makes the widespread use of mail

   ballots a risky process with a high possibility of eligible voters being

   disenfranchised if their signatures are judged to not match their voter

   registration records and/or their mail ballot application. It is my experience

   that many legitimate voter signatures do not initially match older

   registration records and can be improperly rejected without a trained bi-

   partisan review process with appropriate checks and balances and a fair

   opportunity for the voter to cure the apparent signature discpreancy. Thus,

   I would recommend modifications to the above processes in preparation

   for the November Election, especially with the potential for an increase in

   the use of mail ballot voting.

38. Colorado voters are aware that their signatures are tested against numerous

   previous signature on official documents such as voter registration records,
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    previous ballot envelope signatures, driver’s license application signatures,

    and other official records, and know to carefully sign their ballot

    envelopes. It is my understanding that Georgia does not compare multiple

    signatures from such records, and Georgia voters may not be educated on

    the strict match process that allows little room for error, without an

    opportunity to cure discrepancies.

39. I believe that that risk of voter disenfranchisement exists that makes it

    unduly risky for Georgia voters to vote by mail ballots without the ability

    to cure legitimate but signatures judged to be discrepant. It is also

    concerning that partisan decision making could enter the signature

    approval process without bi-partisan team oversight or a chance to

    challenge signature rejection. Colorado law, rules and formal policies

    protect the voters from this risk of disenfranchisement and from fraud that

    could be perpetrated by illegal signatures on ballot envelopes.

40. Georgia’s mail ballot laws greatly restrict the casting of mail ballots on

    Election Day by requiring personal hand delivery to the central office,

    prohibiting polling place drop off. A large percentage of voters prefer to

    vote on Election Day to wait to consider all late breaking news in

    campaigns and conduct their last minute study of the races. Georgia’s

    requirement that each mail ballot cast on Election Day be in-person by the
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    voter himself at the central office, discourages mail ballot voting,

    particularly given the traffic in Atlanta and other locations. I would suggest

    modifications to this process to allow voters to drop off their mail ballot at

    any polling location across Georgia.

41. Georgia ranked 42nd for Mail Ballots Rejected on the recent Election

    Performance Index https://elections.mit.edu/#state-GA. This illustrates why I

    have concerns about the increase in the use of mail ballots without

    modifications to the existing process.

42. In the absence of a signature cure process, efficient drop-off procedures

    and locations, and other procedures, the claim that voters can protect

    themselves by using a mail ballot as opposed to a potentially unreliable

    DRE without a paper audit trail is not a legitimate replacement. In my

    professional opinion, the current mail ballot procedures need to be updated

    in advance of this November election to ensure voters have fair and

    accessible options.


             FEASIBILITY OF IMMEDIATE CONVERSION

                            TO PAPER BALLOTS

43. In my opinion, with appropriate and efficient planning, best practices, and

    assistance from experts in the field, Georgia has time to convert to paper

    ballots in an organized manner because no new technology, systems
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   conversion, or significant training is needed. This is primarily because it is

   my understanding that Georgia uses an adequate paper ballot scanning and

   tabulation system currently, which can be successfully deployed system

   wide if post-election audits are required, and electronic pollbooks are

   corrected and backed up with paper pollbooks. Additionally, there are

   available resources and plans from states with a similar system that can be

   utilized quickly.

44. I understand that Georgia has certified and uses Diebold Accu-vote TS and

   TSx paperless DRE units for in person voting, in concert with Accu-Vote

   Optical Scan for paper mail and provisional ballots, tabulated by the

   GEMS server.

45. I am familiar with this equipment through its widespread and successful

   use in Colorado in prior years, although Denver did not use the Diebold

   brand of optical scanners. Denver used Sequoia 400c high speed optical

   scanners prior to May 2015 when the new Dominion system that includes

   high-speed Canon optical scanners was deployed. Some counties in

   Colorado did use the AccuVote Optical scanners in a central count

   environment.

46. Although Diebold Accu-vote optical scanners are not the most modern or

   highest speed ballot scanners, they are in successful widespread use across
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   the country. I have reviewed Verified Voting’s summary of installed

   election equipment at https://www.verifiedvoting.org/verifier/

    which shows that Diebold AccuVote scanners are used in over 400

    counties and 20,750 precincts and central county operations.

47. It is my understanding that Georgia currently has approximately 900 Accu-

   Vote optical scanners currently in inventory and available for use.

48. Based on my knowledge of the market for election equipment, and

   discussions with vendors and other eletion officials, if additional AccuVote

   optical scanning units needed, there is significant used inventory available

   since many states have converted to new systems. In my research, I found

   that El Paso County in Colorado has 250-300 scanners available. There is

   also new AccuVote inventory available from vendors.

49. I understand that in 2016, Adams County, CO gave Georgia 154 such

   scanners. (reference footnote https://www.ledger-

   enquirer.com/news/politics-government/election/article96275322.html. I

   believe that other scanners may be available from other jursidictions in

   Colorado and elsewhere, as well as from vendors. The cost of such optical

   scanners should be quite affordable.

50. In March 2018 Congress appropriated $380 million in additional HAVA

   funding for states including and specifically encouraging purchasing
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   security improvement election equipment, such as optical scanners for

   ballot counting. As well, activities that improve security of the computer

   systems are eligible for the grant money, which should include the

   updating of the electronic pollbook data and security. Georgia’s share of

   these immediately available funds is $10.8 million.

   (https://www.eac.gov/2018-hava-election-security-funds/).

51. Diebold Accu-Vote optical scan equipment is expected to scan at

   approximately 30 ballots per minute. I have conferred with long time users

   of Accu-Vote scanners in high ballot volume processing and feel confident

   that Georgia has adequate optical scanning capacity and could readily

   acquire more capacity at affordable or minimal cost.

52. San Diego County, California, with approximately 1.7 million voters uses

   Diebold Accu-vote OS machines (of the type Georgia uses) in a central

   count operation for nearly 1,000,000 ballots, which is indicative of the

   volumes that these scanners can handle in a complex ballot style

   environment.

53. In my inquiries for this declaration, I conferred with Stan Martin, Adams

   County, Colorado Clerk & Recorder. Adams County gave Georgia 154

   Accu-Vote scanners in 2016. Adams County has approximately 350,000

   registered voters and used these scanners successfully in a central count
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    installation for several years, without reports of “overheating” or

    “breaking” as has been stated as a concern by the State Defendants at

    Merritt Beaver’s Declaration (Doc. 265-1, ¶9 )

54. I recommend a central count environment, rather than a precinct scanning

    operation, although it is my understanding that Georgia law permits either

    type of scanning with certified voting system scanners. Based on my

    experience, a central count environment mitigates risk with technology and

    tabulation in the field. It is likely preferable for workers already familiar

    with the scanner use operate them when with a near term change is being

    implemented.

55. With a central count environment, secured ballot boxes can be transported

    to the counting facility, chain of custody procedures can be implemented to

    ensure complete accounting, and security procedures can be put in place

    (bi-partisan teams, field accounting procedures) to ensure an effective and

    secure transport mechanism from the field to the central facility. Such

    procedures are already in place in handling provisional paper ballots voted

    in the polling places on Election Day.

56. Election central office workers are already trained on Accu-vote optical

    scanning machines and have successfully processed mail and provisional

    ballots on these scanners for over a decade.
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57. Converting from a DRE model to a predominantly paper based model is a

   change but not particularly complicated, especially considering that

   Georgia already produces and utilizes paper ballots for mail voting and

   provisional ballot voting. Some Colorado counties, such as Jefferson

   County (434,000 registered voters) used DREs in conjunction with optical

   scanners and made a smooth transition to paper based voting continuing to

   use its optical scanners in its older voting system (as Coalition Plaintiffs

   suggest here), until a new voting system was selected several years later.


             PAPER BALLOT VOTING AND PROCESSING

58. The voter check-in process through the electronic pollbook (with

   recommended paper backup) would remain the same as it is now in the

   polling place, with the voter being issued a paper ballot rather than voter

   DRE machine access card.

59. Hand marked paper ballots will not require voter education. Voters know

   how to mark paper ballots easily following instructions to mark with the

   permanent ink markers provided, by coloring in the oval beside the

   candidate’s name or ballot choice. I would recommend that Georgia follow

   best practices for ballot design utilizing the Center for Civic Design

   guidelines.
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60. Thse voters would mark the ballot privately, protected by a privacy shield,

    which can be inexpensively fashioned from stiff card stock, cardboard, or

    plastic, and then place the ballot in a secured ballot box with chain of

    custody controls (there are various methods and best practices available to

    ensure a smooth transition) similar to the chain of custody controls used

    now on the locked provisional ballot box used in the polling places. Also,

    counties across the U.S. that have converted from polling place models to

    vote centers or primarily mail ballots have also made used privacy booths

    available. Denver and other Colorado counties gave booths away in the

    conversion.

61. Handling paper ballots in a secure way with chain of custody

    documentation is routine across US elections, including at precinct polling

    places, and vote centers such as those used by Colorado for in person

    voting.

62. Training pollworkers to issue ballots will be far less complex than training

    workers to deal with the set up, testing, securing and trouble-shooting and

    problem resolution that is required for DRE operation in the polling place.

    After all, Georgia pollworkers currently issue and secure control and

    account for paper provisional ballots in the polling place on Election Day.
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63. DRE delivery, set up, testing, security, close down, memory card collection

    and returning DREs to the warehouse is an inherently labor intensive

    expensive process, and requires considerably more manpower, including

    skilled DRE operation, than does the delivery of a package of shrink-

    wrapped paper ballots in sealed boxes to the polling place.

64. Counties which use hourly or contract personnel to program, test, deliver,

    secure or set up the DRE machines, should be expected to experience a

    cost savings by avoiding such labor intensive work in favor of delivering a

    secure package of paper ballots and other election supplies.

65. Mid-day transfer of secured ballot boxes (replaced with empty secured

    ballot boxes) can accelerate scanning on Election Day afternoon or staging

    for post-poll closing, to accelerate the ballot scanning at the time scanning

    is authorized before closing of the polls.

66. Ballot inventory controls should be implemented in similar way to the

    daily recap sheet currently prepared reconciling the number of ballots cast

    to the number of voters checked in for voting at the polls.

67. If mid-day transfer is not used, the locked ballot box with chain of custody

    records along with poll administration documents would be returned to the

    county central count location for processing by optical scanners.
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68. Accu-vote optical scanners process ballots at the stated approximate rate of

    30 ballots per minute. At the end of the scanning, workers insert an “ender

    card” to mark the completion of scanning, signaling the machine to begin

    automated tabulation of the scanned ballots. This is the same procedure

    used today for counting and processing of mail ballots and provisional

    ballots.

69. Upon the completion of scanning the memory cards from the scanners are

    uploaded to the GEMS server where tabulation and report generation is

    performed on a consolidated election basis. This is the same process used

    today.

                  EARLY VOTING CONSIDERATIONS

70. Fulton County Board of Elections states that it will reduce the early voting

    locations to one location if paper ballots are mandated by this Court. [Doc.

    267 p. 38 ¶ 21]

71. The rationale for Fulton’s threat seems to be that early voting locations

    would be required to issue paper ballots for up to 377 precincts, a process

    now done automatically, but questionable accuracy, by the DRE voting

    system and the electronic pollbooks.

72. In my opinion, greatly reducing early voting sites is an unnecessary over-

    reaction to the need to have paper ballots in early voting locations. There
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   are two generally accepted solutions that can be used alone or in tandem in

   large counties with many early voting locations—maintaining an organized

   inventory of paper ballots, or using “ballot on demand” printers at the early

   voting locations. Small counties with limited early voting locations and

   limited numbers of precincts should not have an issue with paper ballot

   inventory control, nor need “ballot on demand” printers.

73. “Ballot on demand” printers are owned by some Georgia counties now,

   and routinely used in almost all Colorado counties for producing ballots for

   all ballot styles on an as needed basis. Ballot on demand printers could be

   utilized in Georgia in early voting locations, backed up by a safety stock of

   paper ballots in case of technical difficulties. Paper ballot inventory can be

   easily restocked from the central elections office or annex offices in other

   parts of the county if ballot inventory runs low.

74. Although maintaining paper ballot inventory for 377 precincts in Fulton

   County would be slightly cumbersome and administratively inconvenient,

   it is not and administrative burden that would justify the shutdown of early

   voting locations in my opinion. It is merely a matter of carefully securely

   storing the inventory in an organized fashion, and carefully checking ballot

   style number before issuing to the voter. In Denver, there were 426

   precincts and we successfully conducted early voting for over 50,000
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    voters at 13 different locations during the 2008 Presidential Election. We

    utilized secure storage units with individual shelves for each ballot style.

    The units were securely locked and used to store the precinct inventory for

    each site securely.

75. Issuing paper ballots in the polling place and in early voting makes it much

    easier for officials and voters to visually detect an error in ballot issuance

    and to issue a correct ballot to a voter than if the ballot is not on a paper

    record that can be viewed by workers and voters. If the ballot is merely an

    electronic ballot buried in a machine, it is far more likely that ballot

    issuance errors will go undetected.

76. Paper ballots in the early voting polling places should be rigorously

    secured nightly with chain of custody documents with a schedule for

    secured ballot boxes to be frequently delivered to the county election office

    by bi-partisan teams that have specific security credentials.

77. It is my understanding that in the current early voting process, memory

    cards are left in the DRE voting machines every night during early voting

    and not removed from the machines and secured until Election Day. The

    DRE machines and memory cards cannot be properly secured in early

    voting locations like libraries, churches and recreation centers, leaving

    machines and memory cards, and therefore the entire county’s system
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    vulnerable to undetectable malicious attack by implanting malware in just

    one machine or one memory card. Paper ballots, on the other hand, can be

    and should be physically secured at all times, with chain of custody logs

    and survelliance to make any tampering both limited (one ballot box) and

    detectable.

                  AVAILABILITY OF PAPER BALLOTS

78. Accu-Vote OS ballots are printed by numerous commercial ballot printers

    across country, and should be reasonably available, given the widespread

    use of Accu-vote Optical Scanners. Based on my discussions with large

    ballot printers for purposes of his declaration, if ballots were ordered by

    mid-September, ballot printing should cost approximately $.26 per ballot---

    25% less than the print cost quoted by Richmond County. [Bailey

    Declaration Doc. 265-6 ¶ 8]

79. Ballot set up and printing is already planned for every ballot style as

    absentee mail and provisional ballots must be printed even under the

    current system. Ballot printers have told me that inceasing the print run

    size should not create a significant problem in timely delivery.

80. Paper ballots can be delivered and secured the night before Election Day at

    polling place. Polling place ballot quantities are not difficult to transport. In

    Denver, we delivered paper ballot quantities to polling places with secure
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   packaging and seals. The chain of custody procedures (opening the ballot

   boxes and showing all polling place workers that the ballot box is empty at

   the start is key).

                        VOTER CONSIDERATIONS

81. My opinion based on my experience with Denver’s voters and the opinion

   shared by other election officials with whom I have conferred is that voters

   have little difficulty in instinctively knowing how to vote a paper ballot,

   marking the choices by filling in ovals on their ballot. Georgia voters will

   have no trouble marking their choices on a paper ballot, as they do in

   community elections in their unions, churches, home owners’ associations,

   etc. Additionally, since 2016 and with the constant news coverage about

   relability of voting systems, we are seeing more voters requesting paper

   ballots or a ballot marking device that produces a paper ballot.

82. Marking a paper ballot will be faster than operating the DRE for many

   voters, particularly those who are not confident of using computers to vote,

   or voting on the machines that have calibration issues that cause delays. As

   I have conferred with other election officials in preparation for this

   opinion, I confirmed that other officials that have used the same system as

   Georgia saw a decrease in the time to vote when converting to primarily

   paper ballots instead of this DRE.
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83. Based on my experience with voters and pollworkers, it is my opinion that

    voting by paper ballot will generate increased voter confidence in the

    process and the announced election outcome. Knowing that there is an

    auditable paper trail for use in a recount or challenge is a confidence-

    building fact for voters.

84. The number of votes on paper ballots that cannot be interpreted for voter

    intent by a review board is miniscule in my experience. I believe that the

    percentage of such ballots has historically been below .00025% in Denver.

    Conversely, the number of touchscreen mistakes cannot be known or

    measured, but unlike paper ballots, choices cannot be verified by the voter

    as they can be confident of their votes on paper.


                                  SUMMARY

85. Election officials naturally worry about changing processes. Also, election

    administration is about people and process and especially risk mitigation.

    Because it is primarily people and process, there is not a perfect system or

    perfect environment. However, it is critical to mitigate and reduce risk

    wherever possible and this is where my experience running the election

    process in various voting models matters. In my opinion, making the

    change to paper ballots is a low risk change to avoid high risk of potential

    failure (which may be undetectable) of the electronic DRE voting system.
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86. While administrative errors will be made and some machines will have

    problems in all elections, recovery from errors is almost always possible in

    paper ballot elections where audit trails exist.

87. Voters generally know how to mark paper ballots, and election workers

    know how to handle, issue and secure paper ballots in the same way they

    do now for provisional voters.

88. The Accu-Vote optical scanning system used today in Georgia for paper

    ballots is widely used across the United States, with a consistent record of

    mechanical efficiency and durability, although as with any ballot scanning

    system, post-election audits are necessary. Fears of widespread or chronic

    scanner breakdowns appear unfounded based on my research.

89. In my opinion, the Defendants and all county election officials, without

    waiting for this Court’s ruling, should immediately undertake a systematic

    review of the accuracy of the voter registration database and assure that the

    Diebold ectronic pollbooks are operating properly with the identical

    relevant data in the voter registration base, and correct the discrepancies

    reported in recent elections and the underlying cause. I would also

    recommend engaging and outside entity to review the database. This is a

    best practice in the industry and there are various resources available.
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90. In my opinion, the adoption of paper ballots in the polling places can be

    done in a responsible manner in advance of the November elections, albeit

    with some administrative inconvenience and change. Voters will be greatly

    advantaged by conducting an election that is verifiable and complies with

    law. Risk of voter confusion about the act of voting a paper ballot is non-

    existant and in fact, voters may start choosing paper ballots given the

    constant news about electronic (without a paper back-up) systems.
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